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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

STANLEY BOIM, INDIVIDUALLY AND                    )
AS ADMINISTRATOR OF THE ESTATE                    )
OF DAVID BOIM, DECEASED, AND                      )
JOYCE BOIM,                                       )
                                                  )
                              Plaintiffs,         )
                                                  )     Civil No. 17-cv-03591
       v.                                         )
                                                        Hon. Sharon Johnson Coleman
                                                  )
AMERICAN MUSLIMS FOR PALESTINE;                   )
AMERICANS FOR JUSTICE IN                                Hon. Sidney I. Schenkier
                                                  )
PALESTINE EDUCATIONAL                             )
FOUNDATION d/b/a AMERICAN                         )
MUSLIMS FOR PALESTINE; AND                        )
RAFEEQ JABER,                                     )
                                                  )
                              Defendants.

                         FIRST AMENDED COMPLAINT FOR
                     DECLARATORY AND MONETARY JUDGMENT

       Plaintiffs Stanley Boim, individually and as administrator of the estate of David Boim,

deceased, and Joyce Boim (collectively, “Plaintiffs”), for their first amended complaint against

defendants American Muslims for Palestine (“AMP”), Americans for Justice in Palestine

Educational Foundation d/b/a American Muslims for Palestine (“AJP”) and Rafeeq Jaber,

(collectively, “Defendants”), allege and state as follows:

                                       INTRODUCTION

       1.      In 1996, Stanley and Joyce Boim’s son David was murdered in Bet El, Israel, near

Jerusalem, by two agents of the international terrorist organization Hamas. Although the murder

took place thousands of miles away from the United States, it was directly tied to individuals and

organizations in this country that had been providing material support to Hamas.

       2.      The Boims initiated a lawsuit in this Court in 2000 (the “Boim Action”), under the

civil liability provisions of the federal Anti-Terrorism Act (“ATA”), 18 U.S.C. § 2333(d)(2).
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Among the defendants in the Boim Action (the “Boim Defendants”) were the Holy Land

Foundation for Relief and Development (“HLF”), the American Muslim Society (“AMS”), and

AMS’s alter egos operating under the name Islamic Association for Palestine (“IAP”, together

with AMS, “IAP/AMS”). The Boim Action culminated in a $156 million judgment against these

individuals and organizations under the ATA for their role in David Boim’s murder.

       3.       When time came to pay the Boim Judgment, IAP/AMS and HLF claimed to be

out of business and to have ceased operations. HLF’s monetary assets had been seized by the

United States, and HLF and several of its leaders were subsequently convicted of terrorist

activity. IAP/AMS said that they were ceasing operations and had few assets left as a result of

the burden of the Boim Judgment and associated litigation costs. Seemingly, the Boim Action

brought an end to these organizations and their ability to continue raising money. But that was

not the case.

       4.       At the end of 2005, after a short quiet period, a purportedly new organization

emerged under a new name, “American Muslims for Palestine,” or “AMP,” but with the same

fundamental mission and purpose of IAP/AMS.         The new name and quiet period were a

necessity. Following the Boim Judgment, the Boim Defendants and their leaders faced intense

scrutiny from the enforcement proceedings in the Boim Action as well as from criminal

prosecutions being pursued by the Department of Justice. Activists who had been involved with

IAP/AMS and HLF recognized that these organizations could not continue to pursue their

missions with the same names, in the same form, and saddled with the same civil and criminal

liability as IAP/AMS. They therefore deliberately concealed their connection to IAP/AMS,

emphasizing internally that “we really need to distance ourselves from any well known IAP

figures.”


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       5.       However, following what the initial founders themselves called a “transition” to

the new organization, the AMP organization that ultimately emerged strikingly replicated the

IAP/AMS organization that had ostensibly shut down under the burden of the Boim Judgment

and ongoing criminal prosecutions. AMP/AJP ended up with largely the same core leadership as

IAP/AMS; it serves the same function and purpose; it holds nearly identical conventions and

events with many of the same roster of speakers; it operates a similar “chapter” structure in

similar geographic locations; it continues to espouse Hamas’ ideology and political positions;

and it continues to facilitate fundraising for groups that funnel money to Hamas.

       6.      The purportedly new juridical entities that are defendants in this case—AMP and

AJP (the Section 501(c)(3) corporation that is now the operating entity doing business as

AMP)—are simply fronts and new names for the same enterprise previously conducted by

IAP/AMS. They have inherited and purposefully made use of IAP/AMS’s goodwill, knowledge,

reputation, networks, donors, fundraising capabilities, and other valuable intangible assets to

carry out the same fundamental mission and activities as IAP/AMS. They have also continued

IAP/AMS’s informal methods of operation, with no accountability to any members; with a small,

unelected board of directors that has few formal meetings and virtually no minute books or

formal resolutions; and a disdain for basic corporate practices and separateness.      In every

meaningful respect, AMP/AJP is nothing more than a disguised continuance of IAP/AMS—

stripped of the burden of the Boim Judgment and the ignominy of having been found liable for

aiding and abetting the murder of an American teenager. AMP/AJP are the alter egos and

successors of IAP/AMS, and are therefore liable for the unpaid portion of the Boim Judgment.

       7.      Along with parallel enforcement proceedings in the original Boim Action, Boim v.

Holy Land Foundation, No. 00-cv-2905, this declaratory judgment action seeks to enforce the


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Boim Judgment against AMP and AJP as alter egos and successors of the Boim Defendants.

These cases will permit the Boims to recover long-overdue compensation from alter-egos that

continue to raise money and conduct operations in place of IAP/AMS.

       8.      More importantly, enforcing the Boim Judgment against these alter egos also will

serve the larger purpose of ensuring the efficacy of the civil remedies provisions of the ATA. In

upholding the Boim Judgment, the U.S. Court of Appeals for the Seventh Circuit, sitting en banc,

made clear that the conduct of the Boim Defendants was nothing less than intentional funding of

terrorism: “the American Muslim Society…did know (that) in giving money to the (Holy Land)

Foundation (it) was deliberately funneling money to Hamas.” Boim v. Holy Land Foundation,

549 F.3d 685, 701 (7th Cir. 2008) (en banc) (“Boim III”). The Boim Judgment awarded under

the ATA fulfilled an important role in the legislative scheme to protect American nationals from

terrorism: It saddled organizations that had deliberately funded Hamas with significant liability

and disapprobation. Unfortunately, casting off that liability and negative publicity has proved all

too easy in this case. The Boim Defendants simply claimed they were out of money and had

gone out of business, only to reemerge and re-start their fundraising later under new names, free

of the burden of the Boim Judgment. Permitting United States-based supporters of terrorism to

regroup and cast away their liability would effectively render the civil liability provisions of the

ATA a nullity. This case seeks to ensure that entities found liable for violations of the ATA

cannot escape that liability simply by forming new entities and changing their name.

       9.      In addition to enforcing the Boim Judgment against AMP/AJP, this action seeks

declaratory relief and damages against defendant Rafeeq Jaber, who is himself an alter ego of

IAP/AMS. Jaber was a founder of AMS and president of IAP. He participated in the direction

and control of those entities in 1996, and was directly involved in the conduct that gave rise to


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the Boim Judgment. He remained the president and a director of IAP/AMS until the end and

directed the purported wind-up of these organizations in 2004 and 2005. As such, he had

fiduciary duties to the Boims as judgment creditors of IAP/AMS. He failed to exercise adequate

diligence and care in carrying out those duties and concealed the continuation of the Boim

Defendants to evade collection of the Boim Judgment.

       10.     This action requests that the Court (i) enter a declaratory judgment determining

that AMP and AJP are the alter ego and/or successors of one or more of the Boim Defendants

(including IAP/AMS); (ii) enter a declaratory judgment determining that Rafeeq Jaber is the alter

ego of one or more of the Boim Defendants (including IAP/AMS) or is liable under the doctrine

of veil piercing; (iii) enter a declaratory judgment determining that each of Defendants is jointly

and severally liable for the unsatisfied portion of the Boim Judgment; (iv) enter money

judgments against each of the Defendants, jointly and severally, for this unpaid liability; and (v)

enter a money judgment against Jaber for fraudulently concealing from Plaintiffs material facts

regarding the collection of the Boim Judgment, including that IAP/AMS was being resurrected in

the form of AMP and that IAP/AMS continued to have valuable good will, intangible assets, and

a newspaper that were being passed on without any compensation to Plaintiffs.

                                 JURISDICTION AND VENUE

       11.     This Court has jurisdiction over this action pursuant to 18 U.S.C. §§ 2333(a) and

2338 and 28 U.S.C. §§1331 because Plaintiffs seek to impose liability on AMP, AJP and Rafeeq

Jaber arising from the civil liability provisions of the ATA, 18 U.S.C. § 2333(d)(2), as alter egos

and/or successors of the Boim Defendants. See, e.g., Bd. of Trustees, Sheet Metal Workers’ Nat.

Pension Fund v. Elite Erectors, Inc., 212 F.3d 1031, 1037-1038 (7th Cir. 2000) (alter ego

liability was “direct” liability under federal statute and therefore subject to federal subject matter


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jurisdiction); Central States, Se. and Sw. Areas Pension Fund v. Central Transp., Inc., 85 F.3d

1282, 1286 (7th Cir. 1996) (recognizing federal subject matter jurisdiction for enforcement

action based on alter ego liability); Trs. of the Chi. Painters & Decorators Pension Fund v. NGM

Servs., Inc., 2014 U.S. Dist. LEXIS 176004, at *6-7 (N.D. Ill. Dec. 22, 2014) (federal subject

matter jurisdiction for successor claim).

        12.     This Court is authorized to grant declaratory judgment under the Declaratory

Judgment Act, 28 U.S.C. §§2201-2202, and to issue preliminary and permanent injunctive relief

under Rule 65 of the Federal Rules of Civil Procedure.

        13.     In addition, this Court has supplemental jurisdiction pursuant to 28 U.S.C. §1367

in the event that any claims asserted herein are not subject to original jurisdiction, because such

claims (if any) are so related to claims in this action within the Court’s original jurisdiction that

they form part of the same case or controversy under Article III of the United States

Constitution.

        14.     Venue is proper under 18 U.S.C. §2334(a) because one or more of the Defendants

resides, will be served, and/or has an agent in this judicial district. Venue is also proper under 28

U.S.C. §1391(b) because a substantial part of the events or omissions giving rise to the claims

herein occurred within this judicial district and/or, on information and belief, a substantial part of

the property that is the subject of this action is situated in this district.

                                            THE PARTIES

        15.     Plaintiffs Stanley Boim and Joyce Boim are United States citizens who reside in

Jerusalem, Israel. Stanley Boim is the administrator of the estate of his son, David Boim,

deceased. The Boim Judgment was entered in favor of Stanley and Joyce Boim.




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       16.     AMP (American Muslims for Palestine) is a California corporation now listed as

suspended on the California Secretary of State website. The entity’s listed mailing address is

10101 South Roberts Rd., Palos Hills, Illinois.

       17.     AJP (Americans for Justice in Palestine Educational Foundation, doing business

as American Muslims for Palestine) is a 501(c)(3) tax-exempt organization incorporated in

California and located at 6404 Seven Corners Place, Suite N, Falls Church, VA 22044-2034.

       18.     Individual Defendant Rafeeq Jaber is a resident of Illinois and this Judicial

District. Individual Defendant Rafeeq Jaber was a founder of AMS and president of IAP. He

was directly involved in the conduct that gave rise to the Boim Judgment and was an alter ego of

AMS/IAP and/or is subject to liability under the doctrine of veil piercing.

                                 GENERAL ALLEGATIONS

       19.     Stanley and Joyce Boim’s seventeen-year old son David was murdered by Hamas

terrorists at a bus stop in Israel in 1996. He was standing with a group of classmates on their

way to Jerusalem to attend a review class in preparation for their matriculation exams. A car

drove up opposite the boys and a gunman shot at the group, hitting David in the head. David

died the next day. The Boims filed suit in 2000 in this Court under the civil remedies provision

of the ATA, 18 U.S.C. §2333. The Boim Defendants included individuals and organizations in

the United States that provided material support to Hamas in violation of 18 U.S.C. §2339A.

They included, inter alia, Boim Defendants HLF, IAP/AMS, the American Middle East League

for Palestine (“AMELP”), and a purported think tank, the United Association for Studies and

Research (“UASR”), which was the political command center of Hamas in the United States.




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                      HAMAS BUILDS A NETWORK—INCLUDING
                       IAP AND AMS—TO FUND ITS ACTIVITIES

       20.     The Gaza branch of the International Muslim Brotherhood became Hamas in

1987 during the Palestinian uprising against Israel known as the “First Intifada.” As IAP board

member and AMP leader Osama Abuirshaid has explained, less than a year later: “Hamas issued

its charter (or covenant)…. The charter is an unapologetically hard-line document that vividly

promises destruction to Israel. However, with the passing of time…. the discourse of Hamas has

become much softer, though the major beliefs of the movement remain unchanged and it

continues to refuse the recognition of the state of Israel.” The Hamas charter calls for the

annihilation of Israel through “jihad” (i.e. holy war) and seeks to establish an Islamic state in

place of Israel, “from the (Jordan) River to the (Mediterranean) Sea.” It rejects not just the state

of Israel but also secular Palestinian rule, and it advocates the use of violence and terrorist

attacks to achieve its ends. The leaders of IAP/AMS, HLF and AMP/AJP, and the organizations

themselves, are well-known vocal advocates and proponents of this ideology and political

program.

       21.     Primarily through the Izz al-Din al-Qassam Brigades (Hamas’ military wing), and

now as the de facto governing body in Gaza, Hamas has taken credit for numerous acts of terror,

including suicide bombings and shootings of civilians and military targets, dating back to its

inception. In 1995, the United States designated Hamas as a “Specially Designated Terrorist” in

Executive Order 12947 (January 25, 1995), which declared a national emergency with respect to

the “grave acts of violence committed by foreign terrorists that disrupt the Middle East peace

process.” This designation was reaffirmed under Executive Order 13224 (October 31, 2001) and

remains in effect today.



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         22.     Hamas garners support and raises funds for its terrorist attacks and jihad against

Israel through social welfare, charitable, humanitarian and political activities, carried out directly

and through an extensive network of Hamas-affiliated charities, social service organizations and

mosques.       These activities enhance Hamas’s reputation, allow it to recruit participants for

terrorist activities, and allow it to collect funds ostensibly ear-marked for legitimate purposes.

Funds channeled to these organizations, even if for legitimate purposes, free up Hamas’s

resources to be used for terrorist attacks, and funds donated for humanitarian purposes may

ultimately be channeled to Hamas’s military wing. In some cases, Hamas-affiliated social

institutions have directly engaged in recruiting, propaganda, incitement, and logistical support

for terrorist activities.

         23.     Hamas obtains funding from a broad network of sources outside Gaza. These

include U.S.-designated State Sponsors of Terrorism (such as Iran), wealthy individuals,

numerous charities that function as Hamas front organizations, and overseas organizations set up

in Europe, Asia and the United States to raise funds from international donors. In the years

leading up to the Boim Judgment, this worldwide network raised tens of millions of dollars per

year to support Hamas. This network continues to provide extensive financial support to Hamas

today.

         24.     Hamas’s international funding and support network had its origins with the

Muslim Brotherhood even before Hamas was founded. Beginning in the 1950s, the International

Muslim Brotherhood, through its “Western Brothers,” took root in the United States establishing

an intricate network of interconnected organizations and activists to promote and fund its goals.

Among those groups and activists in the United States was the “Palestine Committee”




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established by Brotherhood leaders in Gaza and the United States in the 1980’s to publicly

support and fund the emerging terror network.

       25.      After Hamas was established in 1987, “[t]he International Muslim Brotherhood

directed its Palestinian Committees throughout the world, including in the United States, to help

Hamas.” See Order, United States v. Holy Land Foundation, No. 04-CR-00240 (N.D. Tex.

May 24, 2010) [Dkt. 1447, p. 9].         The Palestine Committee then created a group of

organizations, run by a small group of identifiable activists, to fulfill this mandate. These were

not membership organizations. They were controlled by a small group of self-appointed leaders

who paid little if any attention to corporate forms or legal requirements.         The Palestine

Committee in the United States established three related entities with distinct roles and tasks to

carry out this mission: Boim Defendants IAP/AMS, UASR, and the “Occupied Land Fund,”

which subsequently renamed itself “the Holy Land Foundation.”

                                 THE BOIM DEFENDANTS

       26.      Holy Land Foundation for Relief and Development (HLF). Boim Defendant

HLF, formerly the Occupied Land Fund, was founded in Indiana in 1988, one year after the

founding of Hamas, by Shukri abu Baker with funds supplied by Mousa abu Marzook (a/k/a Abu

Omar, Abu Umar, Abu Rizq), who is currently and has for many years been a senior leader of

Hamas.       HLF was later incorporated in California by Abu Baker, Ghassan Elashi and

Mohammad el-Mezain in 1991, and renamed the Holy Land Foundation for Relief and

Development. HLF moved to Texas in 1992 and was located across the street from Elashi’s

business, Infocom Corporation. Infocom and Ghassan Elashi were convicted in 2005 for dealing

in the property of a Specially Designated Terrorist and conspiracy to commit money laundering.

The violations included sending money to Marzook.


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       27.     HLF acted as the direct financial conduit to Hamas institutions and was referred

to by its leaders as “the Treasury” or “the Fund.” HLF claimed to be the largest Islamic charity

in North America and publicly declared that it was dedicated to the cause of social welfare in

Palestine.

       28.     Islamic Association for Palestine (IAP).     An entity or group of persons and

entities operating under the name “Islamic Association for Palestine” (known collectively as

“IAP National”) operated continuously in the United States from the time it was established by

the Palestine Committee in the early 1980s until it purportedly closed in late-2004 or early-2005.

In 1981, Khaled Mishal directed the creation of the Islamic Association for Palestine. Khaled

Mishal was then a senior member of the Muslim Brotherhood in Gaza and from 2004 until May

2017 was the leader of Hamas. Khaled Mishal described IAP as one of the “first pillars of

Hamas.” In 1983, Marzook was tasked to strengthen IAP. Marzook transferred $150,000 to

both IAP and HLF. On August 29, 1995, Marzook was designated by the U.S. Department of

the Treasury as a Specially Designated Terrorist. He was expelled from the United States in

1997. On August 22, 2003, Khalid Mishal was designated as a Specially Designated Global

Terrorist.

       29.     IAP National acted as an umbrella organization that encompassed various other

informal and legal entities throughout the United States that called themselves “Islamic

Association for Palestine.” These included: IAP Illinois; the Islamic Association for Palestine

formed in California in 1986 by Ghassan Elashi (“IAP California”); AMS (American Muslim

Society) formed by Rafeeq Jaber in Illinois in 1993; American Middle East League for Palestine

(“AMELP”) formed in Texas in 1990 by Yasser K. Saleh Bushnaq and Ismael Selim Elbarasse;

and IAP Texas formed by Basman Elashi in 1993. Ghassan Elashi was convicted in the HLF


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case in 2004 and sent to prison for violation of the ATA. Elbarasse shared a bank account with

Marzook that sent substantial funds to IAP, UASR and HLF. Elbarasse and Marzook funded

Boim Defendant Muhammad Salah’s trip to Israel, the West Bank and Gaza in 1992 to deliver

“emergency” cash to Hamas operatives. Each of these organizations assumed a primary position

in the IAP/AMS network depending on the location of the individual who was designated as the

leader of the network at that time.

       30.     IAP National functioned as a promoter and fund-raiser for the network of front

organizations supporting Hamas, including by promoting HLF and by directing donors to give

money to HLF. IAP National also acted as the primary voice and propaganda arm for Hamas in

the United States.     It published Arabic-language newspapers directed to the Palestinian

population in the United States advocating Hamas doctrines, it issued Hamas press releases and

communiqués, and published the Hamas charter, which, as noted above, explicitly called for the

destruction of Israel and the murder of Jews. In line with Hamas’ political program, IAP

National (along with the legal entities under its umbrella) never promoted a solution to the

Palestinian issue that included the continued existence of the State of Israel.

       31.     IAP National organized annual conventions, conferences and meetings, which

included as speakers members of Hamas brought from the Middle East at IAP’s expense as well

as local pro-Hamas speakers.       These conferences and conventions have been a hallmark of

entities in the Hamas network, including IAP/AMS. They create a circle of social interaction

where leaders and activists know each other. Leading Islamic scholars are able to hand down

teachings.    Important connections and relationships are formed and sustained in these

conferences and decisions are made “on the margins” of these conventions.




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       32.     American Muslim Society (AMS). Boim Defendant AMS was incorporated in

Illinois in 1993. In 1994, AMS applied for the name of “Islamic Association for Palestine in

Chicago.”    Prior to its incorporation, AMS’s principals acted as the local chapter of IAP

National. The AMS group took over leadership of IAP National in 1996, with Defendant Rafeeq

Jaber as its president. During the Boim litigation, AMS was both the Chicago branch and the

national office of IAP National, and it was the primary voice for Hamas in the United States.

Although it was formally a separate corporate entity, the Seventh Circuit Court of Appeals

ultimately determined that AMS was in reality simply one of the various alter egos of the IAP

National umbrella organization and pursued the same objectives and mission.

       33.     While IAP characterized itself as a “public-awareness, educational, political,

social, and civic” organization, one of the core missions of IAP/AMS was to promote and

facilitate funding for Hamas and Hamas ideology and political positions. As explained by

Magistrate Judge Keys in his comprehensive ruling on summary judgment in the Boim Action:

“IAP and AMS (as well as the various organizations within the national IAP umbrella)

contributed money, on a number of occasions, to HLF, and routinely and consistently

encouraged people to donate money to HLF, and otherwise assisted in HLF’s fundraising

endeavors.” Boim v. Quranic Literacy Institute, 340 F. Supp. 885, 910 (N.D. Ill. 2004) (“Boim v.

QLI”). “Turning to the question of whether IAP and AMS desired to help Hamas’ activities

succeed, and, in fact, engaged in some act [to help] those activities succeed, the record contains

an abundance of evidence that both of these propositions is, in fact, true.” Id. at 908.

       34.     Notwithstanding its veneer of official neutrality with respect to Hamas’ activities,

Magistrate Judge Keys found that IAP/AMS promoted these activities, albeit “subtly”:

               The record makes clear that, if IAP has never outrightly cheered on
               Hamas’ terrorist activities, it has come awfully close. Certainly,

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              IAP has never condemned Hamas’ tactics. Indeed, Mr. Jaber
              testified that IAP takes no position on whether suicide bombings,
              also called “martyrdom operations,” are right or wrong, “because
              we do not judge. I don’t believe we are in a position to judge the
              people what they do and what they do not do. Because the one in
              the field is different than the one sitting in the chair like me here.”
              Jaber Deposition II, pp. 194–95. The record shows that IAP
              actually praises Hamas’ terrorist activities, though it does so
              somewhat subtly: Mr. Jaber admitted that IAP National, under his
              leadership, published articles and editorials characterizing suicide
              bombers and those who carried out bombing operations against
              Israeli targets as “martyrs” and as “freedom fighters,” though he
              claimed that IAP took no official position on the validity of those
              characterizations. Jaber Deposition II, pp. 194–98.

Boim v. QLI, 340 F. Supp. 2d. at 912.

       35.    IAP/AMS were also closely tied to HLF and shared key personnel. For example,

HLF Treasurer Ghassan Elashi formed IAP California; HLF President and CEO Shukri Abu

Baker was a member of IAP National’s advisory board; Kifah Mustapha, HLF’s registered agent

in Illinois, organized the programming for IAP National’s 1999 Annual Conference; and Ahmad

Agha, HLF’s treasurer, was a director of AMELP.           The fluidity and interchangeability of

activists between IAP’s various constituent organizations and HLF was typical and characteristic

of Hamas and Palestine Committee organizations.

       36.    IAP/AMS and HLF leaders also established close and consistent relations with

Hamas leadership in Gaza and the West Bank. In 1988, Abdullah Azzam, who founded al-

Qaeda with Osama bin Laden, was the featured speaker at the annual IAP conference. Azzam

made an impassioned plea at the conference to donate funds to Hamas and referred explicitly to

Sheikh Ahmed Yassin, the terror group’s spiritual leader in Gaza, as a worthy recipient of

donations. Sheikh Said Mohammed Siyam, one of Hamas’ most senior political and military

leaders from Gaza and a protégé of Hamas co-founder Sheikh Abdel Aziz al-Rantissi, spoke at

the 1989 convention.

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       37.    United Association for Studies and Research (UASR). Boim Defendant UASR

was created by Marzook in Illinois in 1989 as an affiliate of HLF, IAP and AMS. UASR

purported to be a think-tank conducting research on Middle-Eastern and Islamic topics. It

functioned as a political and intellectual command center for Hamas in the United States.

        THE BOIM DEFENDANTS CONSPIRE TO CONTINUE SUPPORT FOR
          HAMAS IN THE WAKE OF THE OSLO ACCORDS AND GROW
            THEIR NETWORK OF SUPPORT IN THE UNITED STATES

       38.    As noted above, it is a cardinal principle of Hamas that no agreement can be

reached that will allow for the permanent presence of the State of Israel. This view took a

serious blow when in 1993 the Palestine Liberation Organization, led by Yasser Arafat, entered

into an agreement with Yitzhak Rabin, Israel’s Prime Minister, to establish a mechanism to lead

to peace. This agreement was known as the “Oslo Accords.” Leaders of HLF, IAP/AMS and

UASR organized and attended a summit held in Philadelphia in 1993 that included Hamas

leaders from Gaza and the West Bank. The purpose of the meeting was to design a strategy to

oppose the Oslo Accords including by “support[ing] the families of the (Hamas) martyrs” and

providing “a political force for our brothers on the inside.” A recommendation was made that

“[the] institutions (in the United States) should be at the service of the Movement over there…

[and] should include financial, information, political, everything.” The meeting was surveilled

by the FBI. Transcripts of the meeting that were released by the government show that leaders

of IAP and HLF including Omar Ahmad, Mohammad al-Hanooti and Ismail Elbarasse of IAP,

and Shukri abu Baker and Ghassan Elashi of HLF were active participants.

       39.    The Philadelphia meeting was a precursor to the events and the specific strategy

that underlies this complaint and explains the subsequent events that are the subject of this

lawsuit. The tapes of the meeting reveal that leaders of IAP/AMS and HLF fully expected that


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Hamas would soon be designated by the government as a terrorist organization. This would

require Hamas’ U.S. affiliates to take a nuanced position in dealing with the American public

and policy makers. They understood that dissimulating the Palestine Committee’s real aims was

a necessary tactic. Shukri Abu Baker was heard saying, “I swear by Allah that war is deception.

… Deceive, camouflage, pretend that you’re leaving while you’re walking that way.” Omar

Ahmad elaborated on Abu Baker’s position by comparing the deception that the group was going

to employ with head fakes used by basketball players. “He makes a player believe that he is

doing this while he does something else.” The participants made it clear that moving forward

they had to create two separate public personas: (1) to address the general American public in

moderate terms (2) while speaking to their Islamic followers with greater honesty.

       40.     By the time that David Boim was murdered in 1996, the IAP/AMS organization

and the entities under its umbrella, together with HLF, continued to grow and broaden their

capabilities and importance. In 2002, IAP/AMS’s website claimed that is was “the largest

Muslim, Arab, and Palestinian American grassroots organization dedicated to the cause of

Palestine…” The IAP/AMS organization had built a massive network of financial donors,

leadership, volunteers, loyal followers, regional groups, speakers, and contacts in Hamas and the

Arab world. It had built and expanded a newspaper, public relations expertise, and substantial

media, publishing, social media and internet capabilities. It had developed a major annual

convention and the capability to stage successful national and local fund-raisers, festivals and

other events. It had compiled lists of donors and sponsors and developed the capacity to raise

money for its component entities and other groups that supported its cause. It had built good

will, constituent loyalty, and prestige, for both the organization and its leaders.




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         41.   In short, in the two decades since its inception, the IAP/AMS organization had

become a valuable and effective operation, with significant assets, resources and capabilities that

enabled it to raise substantial quantities of money and have a powerful voice across a large

constituency in the United States.

            THE BOIM DEFENDANTS ARE JUDGED LIABLE TO PLAINTIFFS

         42.   On November 10, 2004, the United States District Court for the Northern District

of Illinois entered summary judgment in favor of the Boims and against Boim Defendants IAP,

AMS and HLF, reserving the issue of damages for a subsequent jury trial. Boim v. QLI, 340 F.

Supp. 2d 885. On December 8, 2004, a jury awarded damages of $52 million. Pursuant to the

ATA, the judgment was trebled and entered in the amount of $156 million.

         43.   Throughout the suit, in both the trial and appellate courts, IAP/AMS repeated

their public position that they were nothing more than “charitable and educational” institutions

promoting the welfare of Palestinians and educating the American public about the Palestinian

cause.

         44.   The District Court found that the evidence presented in the parties’ summary

judgment papers squarely debunked this argument, such that “no reasonable jury” could find in

favor of IAP/AMS on the issue of liability. Boim v. QLI, 340 F. Supp. 2d at 913. The defense

that the individual and organizational defendants were mere advocates and benign donors was

rejected.

         45.   The Boim Defendants also asserted that they should not be liable because they

supported Hamas’ humanitarian and charitable activities rather than its terrorist activities. The

United States Court of Appeals for the Seventh Circuit, sitting en banc, rejected that assertion in

a landmark ruling governing civil liability under the ATA. The Court held that a defendant that

provides material support to a terrorist organization such as Hamas—even to its social or
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charitable wing—with knowledge that the organization engages in terrorism is, as a matter of

law, a cause of the organization’s terrorist activity and liable for damages under 18 U.S.C. §

2333. Boim III, 549 F.3d at 698-99 (“Anyone who knowingly contributes to the nonviolent wing

of an organization that he knows to engage in terrorism is knowingly contributing to the

organization's terrorist activities”).

        46.     The Seventh Circuit also rejected the suggestion that indirect support does not

constitute a violation of the ATA, holding that donating money to another organization that

supports Hamas—directly or through a “chain of intermediate organizations”—can lead to

liability so long as the defendant knows (or is reckless in failing to discover) that donations to the

other organization end up going to Hamas. Boim III, 549 F.3d at 701-702.

        47.     IAP/AMS further argued in the District Court that the “IAP” named in the

complaint was a different entity than the IAP/AMS entities whose names appeared in the record.

The District Court acknowledged that “there were a number of organizations using the IAP

name,” but held that the evidence made clear that all of those organizations were related,

“whether officially or unofficially.” Boim v. QLI, 340 F. Supp. 2d at 906-907. For instance, the

Court noted that Individual Defendant Rafeeq Jaber testified that “IAP National” was an

umbrella organization that floats between IAP Texas and AMS, without any separate corporate

structure; when IAP National is headquartered in Dallas, IAP Texas serves as the National

organization; when IAP National is headquartered in Chicago, AMS serves as the National

Organization. Id. at 907. Jaber had served as president of IAP National, as well as of AMS and

IAP Texas. Id. Even when IAP National was based in Chicago, IAP Texas continued to handle

certain IAP National projects, and IAP National and AMS “exchange[d] money” with IAP

Texas. Id. at 907-908. Likewise, Jaber’s predecessor as president of IAP National, Omar


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Ahmad, testified that another entity, AMELP (American Middle East League for Palestine), had

done business for a time as IAP without any sort of corporate formality. Id. at 907. AMS and

IAP National gave money to AMELP. Id. at 908. Jaber also testified that IAP National had

“chapters” in various other geographic locations (Detroit, Wisconsin, New Jersey and

California), which functioned like “committees” to publicize conferences and help raise money

for IAP. Id.

        48.     Based on this evidence, the District Court concluded that AMS and all the IAP

entities essentially functioned as one organization and could not use their purported corporate

structure to avoid liability:

                In short, the record shows that at all times relevant to this action,
                there was a national organization serving as the Islamic
                Association for Palestine, and that IAP Texas and AMS either
                formally served as that organization, or were so intertwined and
                involved with that organization as to make any formal distinction
                meaningless. The defendants cannot now hide behind their
                ambiguous and amorphous corporate design. The Court finds that
                the defendants’ “it wasn’t us” arguments ring hollow.

Boim v. QLI, 340 F Supp. 2d at 908. The Seventh Circuit concurred with this treatment, noting

that IAP “appears to be either an alter ego of [AMS] or just an alternative name for it, and need

not be discussed separately.” Boim III, 549 F.3d at 687-688.

        49.     The Seventh Circuit affirmed the judgment against IAP/AMS in 2008, holding

that IAP/AMS funneled funds to Hamas using HLF as a conduit. Boim III, 549 F.3d at 701. As

noted by Magistrate Judge Keys, in addition to fund-raising for Hamas, IAP “published and

distributed an abundance of pro-Hamas documents,” undertook campaigns in support of Boim

Defendant Mohammed Salah, who had been arrested in Israel, and “published documents

designed to garner public support for Abu Marzook, who Mr. Jaber knew at the time to be the

head of the political bureau of Hamas.” Boim v. QLI, 340 F. Supp. 2d at 910-11.

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       50.     The Court of Appeals vacated the judgment against HLF and remanded for further

proceedings on an issue that did not affect HLF’s ultimate liability. Boim III, 549 F.3d at 701.

On remand, the District Court found that HLF had funded Hamas and entered judgment against

HLF for the same $156 million. 2012 U.S. Dist. LEXIS 126063 (Doc. # 883). That judgment

was not appealed and is now final.

       51.     On February 25, 2005, a default judgment was entered against UASR and

AMELP.

       52.     The Boims registered their judgments against these defendants in this Court.

Those judgments remain valid and subject to enforcement. The Boims have filed a petition to

revive the Boim Judgment against IAP/AMS pursuant to 735 ILCS 5/2-1602 and will be doing

the same for the Boim Judgment against HLF.

                         THE BOIM DEFENDANTS CLAIM THEY
                       HAVE NO FUNDS TO PAY THE JUDGMENTS

       53.     Following the entry of judgments in December 2004 (which were amended in

early 2005), Plaintiffs issued a series of citations to discover assets starting in February 2005 and

pursued enforcement proceedings against the liable Boim Defendants. Despite these efforts,

Plaintiffs have had very limited success in collecting on the judgments against IAP/AMS, HLF

and the other Boim Defendants.

       54.     In a March 2005 deposition taken pursuant to a citation to discover assets,

Individual Defendant Rafeeq Jaber, then president of IAP National and an officer of AMS,

claimed that both of those organizations were essentially “defunct” as a result of the expense of

the litigation and judgment in the Boim Action.

       55.     In 2004 HLF and its principals were indicted. In 2008, five individuals, including

three HLF officers (Shukri Abu Baker, Ghassan Elashi and Mohammad El-Mezain), the director

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of HLF’s New Jersey office (Abdulrahman Odeh), and a speaker and entertainer at HLF’s

fundraising events (Mufid Abdulqader), as well as HLF as an organization were convicted of

violating the anti-terrorism laws for providing assistance or material support to Hamas.

       56.     In a comprehensive 96-page opinion, the United States Court of Appeals for the

Fifth Circuit upheld the convictions. United States v. El-Mezain, 664 F.3d 467 (5th Cir. 2011).

By the time of the Fifth Circuit’s decision, HLF claimed that it had ceased to function as a

distinct organization.

       57.     With HLF and the IAP/AMS organization apparently defunct and relying on

explicit statements by Rafeeq Jaber that they were no longer operating, Plaintiffs discontinued

their collection efforts. However, Plaintiffs have since learned that the HLF and the IAP/AMS

organization did not stop operating. They have continued to operate and raise substantial funds

under new names.

  HLF ATTEMPTS TO CONTINUE OPERATIONS DISGUISED AS “KINDHEARTS”

       58.     On December 4, 2001, HLF was designated as a terrorist organization and its

assets were frozen by the FBI and Treasury. Treasury officials stated that HLF’s primary

purpose had been to subsidize Hamas. In January 2002, while HLF’s leaders were being

investigated by the government and after HLF’s assets had been seized, HLF’s leaders helped

launch and were active in a purportedly new organization—the Ohio-based KindHearts for

Charitable Relief and Development (“KindHearts”).

       59.     As with its convicted predecessor HLF, KindHearts outwardly espoused strictly

charitable and humanitarian objectives. Beneath the surface, however, KindHearts was nothing

more than a new legal entity created to front the same pro-Hamas organization first established

by HLF and the Palestine Committee nearly two decades earlier. KindHearts shared a bank


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account and employees with HLF. IAP raised funds for KindHearts. Future AMP President

Hatem Bazian spoke at a KindHearts fundraiser in 2004. Former IAP leaders Osama Abuirshaid

and Abdelbasset Hamayel became KindHearts fundraisers and organizers after IAP closed down.

KindHearts was a continuation of HLF intended to allow HLF to continue to operate despite

consequences of the government investigation.

       60.     HLF’s efforts to continue its operations while hiding under a different name were

ultimately unsuccessful. On February 19, 2006, the United States Treasury Department invoked

a “Block Pending Investigation” and froze the assets of KindHearts, stating that the organization

was the “progeny” of HLF, and that it provided “support for terrorism behind the façade of

charitable giving.” KindHearts disbanded in 2011 and its funds were purportedly distributed

under government supervision.

                      AMS/IAP “TRANSITIONS” TO AMP/AJP TO
                   CONTINUE THE WORK OF THE BOIM DEFENDANTS

       61.     In 2005, shortly after IAP/AMS had shut down, various individuals began

discussing the “transition” to a purportedly new entity, which would ultimately become AMP. In

2009, AMP leaders incorporated AJP as a Section 501(c)(3) organization to provide fundraising

capabilities. AJP later became the operating entity for the organization and is now doing

business as AMP. The AMP entity is currently listed as suspended on the California Secretary of

State’s website.

       62.     The new AMP/AJP entities have continued to occupy the same role in Hamas’s

international fundraising and propaganda network as the IAP/AMS organization. They continue

to maintain the IAP/AMS organization’s position as the most prominent Islamic organization in

the United States acting on behalf of the “Palestinian Cause” and Hamas. AMP board member

and one of its purported founders, Munjed Ahmad, testified that AMP is focused on the

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“Palestinian issue,” and that he was unaware of any other organization in the United States that

had the same focus when AMP was organized in 2006, after IAP/AMS and HLF were out of

business. Hatem Bazian, the first chairman of AMP, also testified that at the time—after the

purported dissolution of IAP/AMS and HLF—that there was no other organization speaking for

Palestine.

       63.     That the new organization has come to occupy the same position as IAP/AMS

was not accidental. AMP resulted from an effort to re-create an organization that would continue

to play IAP/AMS’s role after IAP/AMS shut down—and to do so in a manner that would

deliberately conceal the close connection between the new AMP organization and its

predecessors. As set forth below, the individuals involved in the “transition” initially sought to

preserve the appearance that AMP was not tied to IAP/AMS. But the AMP organization that

emerged was the same organization in every material respect.

       A.      IAP and AMS Are Shut Down and New Entities Are Created to Carry on
               their Work While Evading Liability for the Boim Judgment.

       64.     At the time Jaber was telling Plaintiffs that IAP and AMS were defunct in 2005,

AMP was being formed as a “volunteer organization” by individuals who included IAP/AMS

and HLF leadership and activists. As shown in the timeline below, the timing of the formation

of—or “transition” to (to use the words of the activists involved)—AMP coincides precisely with

the shutdown of its predecessors and a period of intense legal pressure that required careful

concealment of the close connection between the new AMP entity and IAP/AMS.




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       65.    At the time of the December 2004 Boim Judgment, individuals openly affiliated

with HLF and IAP/AMS faced considerable legal peril. As predicted at the 1993 Philadelphia

meeting, by 2005 elements of the United States Hamas network (most notably HLF and its

principals and Boim defendant Muhammad Salah) had been indicted by the federal government

for their connections with Hamas. Fawaz Mushtaha, who was an IAP board member through

2004, fled the United States; a substantial trove of Hamas data was found buried in the backyard

of his former residence. The data was important evidence in the government’s criminal case

against HLF. Sabri Samirah, another IAP/AMS Board member as of at least 2002, also left the
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United States and was not permitted to return until approximately 2014. Salah Daoud and Hasan

Sabri, two additional IAP/AMS board members, also fled the United States.           In order to

minimize legal scrutiny, and to evade continued liability for the Boim Judgment, it was

necessary to obscure any connection with these organizations and their leaders.

       66.    In 2005, shortly after IAP/AMS stopped operations, former IAP/AMS board

member Osama Abuirshaid started publishing a “new” Arab-language newspaper, Al-Meezan.

The new newspaper had a format that was nearly identical to the IAP newspaper, Al-Zaytouna,

which Abuirshaid had edited. The new newspaper covered the same Palestinian topics, relied on

a number of the same advertisers, and was distributed to many of the same mosques and

readership as the IAP newspaper.

       67.    By late-2005 (or before), various individuals had begun organizing the group that

would eventually become AMP. The organizers referred to this initial phase of AMP on a

Yahoo bulletin board as the “transition.” Among the initial organizers of the “transition” group

were Hatem Bazian and Magdi Odeh. Each had previously had a role with IAP/AMS or HLF.

Magdi Odeh organized IAP’s first annual “Jerusalem Festival for English Speakers” held in

Chicago in 1999. Hatem Bazian spoke at numerous IAP and KindHearts events and had a close

personal relationship with IAP/AMS leader Rafeeq Jaber.

       68.    In a January 18, 2006 message, Bazian suggested that an upcoming April 16,

2006 convention of the Muslim American Society (“MAS”) in Milwaukee be the location “to

meet for AMP business.” MAS is closely affiliated with the Muslim Brotherhood. A primary

organizer of MAS in 1992 was Mohammed Mahdi Akef who went on to become the murshid or

spiritual leader of the Muslim Brotherhood in Egypt from 2004-2010.




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       69.     In preparation for the meeting, specific care was taken to avoid any public

connection with IAP/AMS. For example, Magdi Odeh told the group that Sufian Nabhan, who

was an IAP board member and its Michigan representative, should be left out “when we meet in

Milwaukee since he is well associated with IAP…. [W]e really need to distance ourselves from

any well known IAP figures…. [s]ince this is the transition period….” (emphasis supplied).

Nevertheless, Sufian Nabhan                                           was involved with the

organization early-on, and has served as a core AMP board member for approximately 10 years.

       70.     The MAS convention where the “transition” meeting took place was effectively

an IAP reunion. The MAS convention was organized by IAP and HLF activist Salah Sarsour,

who was also a member of the 2001 IAP Convention Committee. The convention was a

precursor of AMP leadership. It included a panel discussion by future AMP director and leader

Osama Abuirshaid and future AMP President Hatem Bazian and was moderated by AMS

president Rafeeq Jaber. Abuirshaid also testified that around this time he was approached by

Bazian and Sarsour and attended a meeting about the need for a new organization to address

Palestinian issues.

       71.     Other speakers at the MAS convention included (a) Mohammed Al-Hanooti, IAP

President from 1984-86 and an attendee at the 1993 Philadelphia meeting; (b) Jamal Said, Imam

of the Bridgeview Mosque, who, as explained below, was the senior religious authority for

IAP/AMS, a frequent speaker at IAP events and a major benefactor of HLF and other terrorist

groups and supporters; (c) Raeed Tayeh, who was an IAP employee working for Abuirshaid and

a Research Fellow at UASR; and (d) Kifah Mustapha, an employee of IAP from 1996-2000 who

was instrumental in staging its events, a fundraiser for HLF. These people would all become

repeat speakers at future AMP events.


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       72.      In August 2006, AMP filed formal articles of incorporation. A few months later,

in November 2006, as detailed below, AMP held its first National Convention in Rosemont,

Illinois—the same place where IAP had held its annual conventions—and registered its current

internet domain address, AMPalestine.org.

         who were both closely tied to IAP/AMS. Individuals affiliated with IAP opened the

national office for AMP in 2008 at 10101 South Roberts Road, Palos Hills, Illinois, just down

the street from the former offices of AMS/IAP and former IAP president Individual Defendant

Rafeeq Jaber.

       73.      In 2008, AMP’s leadership formed AJP as a Section 501(c)(3) tax-exempt

organization to create a legal entity to do fund-raising for AMP.

                                                        As explained above, AJP subsequently

became the single operating entity for the AMP organization, doing business as AMP. The AMP

entity was suspended. The leadership of AMP and AJP were essentially identical. There were

no formal elections of officers for either entity, and the self-appointed board members were

typically unclear about which entity they served.

       74.      The timing of AMP and AJP’s formation as the continuation of the Palestine

Committee’s core project to direct Hamas’ activities in the United States was deliberate and

consistent with the strategy adopted at the 1993 Philadelphia meeting. On information and

belief, the leaders of the IAP/AMS organization claimed IAP and AMS had closed down and

ceased operations for the purpose of deflecting Plaintiffs’ enforcement efforts and evading

further liability. At the same time, as detailed herein, the IAP/AMS organization retained its

critical assets—its leadership, its donors, its network of supporters, its reputation and “good




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will,” its public relations capabilities, its ability to publish a widely-circulated Arab-language

newspaper, its slate of events and conventions, and its highly-effective fundraising apparatus.

       75.     Utilizing and attaching this former IAP/AMS leadership was critical to AMP

moving forward and achieving success. According to AMP President Hatem Bazian, Osama

Abuirshaid’s “involvement….(was) a necessity….”          Former IAP/AMS board member and

manager Abdelbasset Hamayel testified that that he was brought into AMP to “help the

organization start functioning,” exactly as he had done for IAP/AMS.

       76.     In the course of seemingly abandoning the IAP/AMS entities and creating new

legal entities, the IAP/AMS organization’s leaders deliberately and successfully evaded

Plaintiffs’ enforcement efforts by means of false claims that the IAP/AMS organization had been

shut down and ceased to operate. They obscured the identity of the IAP/AMS organization as

the predecessor of AMP and the source of its critical assets, leadership and mission. To obstruct

and prevent enforcement of the Boim Judgment and thereby work a clear injustice on Plaintiffs,

they continued to raise substantial funds to maintain its ongoing operations and fund new

programs at substantial cost while failing to pay the outstanding Boim Judgment. The same

individuals who controlled IAP and AMS at the time they allegedly ceased operations now

control and operate AMP/AJP.

       B.      Following the “Transition,” AMP Emerges as the Same Organization as
               IAP/AMS with Largely the Same Core Leadership.

       77.     The core leadership and management of the AMP organization that emerged after

the “transition” is strikingly similar to the core leadership and management of IAP/AMS in the

years leading up to the Boim Judgment.

       78.     As detailed in the chart below, the leadership of both IAP/AMS and AMP

consisted of a limited number of individuals, which substantially overlapped:

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       79.    The column on the left begins with the thirteen persons who were listed as

members of the IAP/AMS boards of directors in 2002 (AMS) and 2004 (IAP). The column on

the right identifies nine people who have been identified as core leadership of AMP. While

several additional people have been listed on AMP/AJP’s website over the years, these appear to

have been a mixture of employees and people with short-term or limited involvement. Board

meeting minutes, e-mail chains on board-level issues, and witness testimony indicate that the

long-term core leadership of AMP/AJP has consistently been vested in just a few people.

       80.    The continuity in leadership between IAP/AMS and AMP is obvious and striking.

Three of the first four listed IAP/AMS board members, Hamayel, Abuirshaid and Nabhan, all

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undertook significant roles and board positions at AMP: Abuirshaid became chief spokesman,

fundraiser and board member; Hamayel became the functional executive director; and Nabhan

was                           organized a significant fundraiser in Michigan in May 2007, and

became an original board member. Consistent with AMP’s effort to conceal its IAP roots, Jaber,

the past IAP/AMS president, has held no official officer or board position at AMP. However, he

has nonetheless played a major role in the AMP organization since its inception. Jaber has been

a featured speaker at AMP conventions and events since the very first convention in 2006,

lending his personal prestige to these events and establishing for attendees the continuity

between IAP and AMP. Jaber has also acted as AMP’s tax preparer and financial advisor.

When AMP/AJP faced difficult tax and legal issues, Jaber was at board meetings and on e-mail

chains along with the core AMP/AJP leadership.

       81.    Imad Sarsour was an AMS board member. He was the business partner of his

brother Salah Sarsour, who was also active in IAP. Imad, Salah and a third brother, Jamil, were

also major funders of and fundraisers for HLF. Salah Sarsour took the Sarsour family board spot

and leading role at AMP. Kifah Mustapha, an AMS board member, did not officially join the

AMP board but has been actively involved in AMP since its inception, including as a frequent

speaker and in filming promotional videos.

       82.    Four other IAP/AMS board members, Salah Daoud, Sabri Samirah, Fawaz

Mushtaha and Hasan Sabri, also did not take roles at AMP because they left or were forced out

of the United States at the time IAP was shutting down and HLF was being criminally

prosecuted. However, Salah Daoud’s sister-in-law, Sanaa Daoud, took an AMP board seat.

Salah and Sanaa Daoud were both affiliated with Middle East Financial Services, a money

forwarding service based in Bridgeview, Illinois. In 2005, Salah Daoud testified, in exchange for


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immunity, that Middle East Financial Services sent funds to Palestinian Islamic Jihad, a

designated terrorist organization. When Sabri Samirah was permitted to return (briefly) to the

United States, he was a featured speaker at the 2014 AMP convention.

       83.    Three of the former IAP/AMS board members who are not currently known to

have left the United States took no significant role at AMP: Mahmoud Shafeeq, Mohammad El-

Natour and Muhamad Abdel’al. None of these three had significant roles at IAP/AMS. Indeed,

Jaber, Abuirshaid and Hamayel could not even remember Mahmoud Shafeeq.

       84.    Hussein al-Khatib, Hatem Bazian, and Yousef Shahin were not IAP/AMS board

members (or closely related to IAP/AMS board members) as of 2002-2004. However, they were

actively involved with IAP/AMS. Hussein al-Khatib had a significant role at IAP’s affiliate,

HLF, and was well-known and closely aligned with IAP and its leadership. Hatem Bazian was

closely aligned with IAP and its leadership and regularly spoke at IAP events. Yousef Shahin

was an active IAP member who was on the AMS board in 1999, had been president of IAP’s

New Jersey chapter, and had organized IAP activities in New Jersey. Munjed Ahmad, had no

prior role with IAP/AMS. However, he was still in law school at the time IAP/AMS was active.

       C.     AMP/AJP Continue the Same Activities as the IAP/AMS Organization and
              Use the Same Critical Assets.

       85.    IAP and AMS were not for-profit companies seeking to earn financial benefit for

their owners or shareholders. They did not have large bank accounts, own factories, or possess

other significant tangible capital assets. IAP/AMS reflected the goals, ideology, outlooks and

perseverance of a discrete group of individuals. IAP and AMS did not have dues-paying

members. The board of directors of IAP/AMS was self-perpetuating with infrequent meetings.

They did not adopt formal resolutions, and did not keep a minute book. They were not-for-profit



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political and charitable entities, created to fund and carry out the mission of the pro-Hamas

founders and leaders who ran them.

       86.     Courts considering alter ego and successor liability in this context have repeatedly

recognized that the traditional tests for alter ego and successor status in the for-profit corporate

context do not apply to non-profits. See, e.g., Strauss v. Credit Lyonnais, S.A., 925 F. Supp. 2d

414, 435 n.14 (E.D.N.Y. 2013) (examining charities “operating as Hamas front groups,” the

court questioned “whether legitimate corporations are sufficiently analogous to terrorist groups

such that every corporate veil piercing factor applies here”); Linde v. Arab Bank, PLC, 97 F.

Supp. 3d 287, 334 (E.D.N.Y. 2015) (noting “skepticism” as to whether “legitimate corporations

are sufficiently analogous to terrorist groups such that every corporate veil piercing factor

applies” to charities allegedly controlled by Hamas); Macaluso v. Jenkins, 95 Ill. App. 3d 461,

465 (2d Dist. 1981) (organization’s “status as a not for profit corporation in and of itself should

not bar a court from applying the equitable remedy of piercing the corporate veil … equitable

remedy looks to the substance rather than to form”); Hankinson v. King, 117 F. Supp. 3d 1068,

1074 (D. Minn. 2015) (de facto merger doctrine of successor liability applied to non-profit

without shareholders where there was a continuity of management and personnel); Ring v. The

Elizabeth Found. for the Arts, No. 113849/2011, 2014 WL 5908429, at *5 (N.Y. Sup. Nov. 12,

2014) (another “court recognized that, because both entities were not-for-profits, they had no

owners or shareholders. Therefore, it looked to other indicia of control instead of considering

ownership, per se”).

       87.     As a political and purported charitable not-for-profit, the IAP/AMS organization’s

most valuable and critical assets were the intangible assets that enabled it to raise money,

propagate its message, build its network and power, and achieve its political objectives. The


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constant hard work of the organization and its leaders over two decades had made the

organization, in IAP National’s words, “the largest Muslim, Arab, and Palestinian American

grassroots organization dedicated to the cause of Palestine.” In building this organization, IAP

and AMS accumulated substantial intangible assets including:              (a) a broad and loyal

constituency; (b) an ability to send its message efficiently to a discrete public; (c) a nationwide

network of volunteers who for many years consistently assisted on a variety of projects (Kifah

Mustapha); (d) the know-how to arrange major conventions, fundraisers and festivals

(Abdelbasset Hamayel); (e) a roster of speakers for these events (Hatem Bazian, Jamal Said,

numerous others); (f) public relations experts who understood the mission and the audience; (g) a

widely-circulated, Arab-language newspaper with an experienced and capable editor (Abuirshaid

and Al-Zaytounah); (h) an experienced executive director and manager (Abdelbasset Hamayel);

(i) a tax preparer who was also a well-known spokesman and well-respected community leader

with access to funds and the media (Jaber); (j) a network of international partners and contacts in

the Middle East and elsewhere; (k) a highly-effective fundraising apparatus; (l) substantial good

will and prestige, both for the organization and its leaders, based on past charitable and political

work; and (m) the trust of a broad network of supporters of terrorist organizations, especially

Hamas, who required the confidence that their evasion of American and international law would

be protected by experienced money launderers and forwarders of funds capable of surreptitiously

reaching the terrorist recipients of their contributions.

       88.     The IAP/AMS organization’s substantial standing in the Palestinian community

was untarnished by the fact that it and its partner, HLF, and certain of its leaders had been found

liable for violation of the ATA. The leaders of IAP/AMS were well-connected with Hamas




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leadership in Gaza, which vivified the organization, provided it with legitimacy in its community

and afforded direction on what political line to adopt.

       89.     The IAP/AMS organization’s valuable intangible assets simply “transitioned” to

AMP and later AJP, which have continued to use these assets to raise money, spread the

organization’s message, advance the organization’s pro-Hamas/anti-Israel political objectives,

provide a fundraising platform for pro-Hamas intermediary organizations, and (as discussed

below) provide indirect support for Hamas itself.

       90.     For example, among the most significant activities of IAP and AMS was an

annual conference generally held in November. IAP invested significant time, effort and funds

in preparing and conducting these conferences. The conferences were an important fundraising

platform, both for the IAP/AMS organization itself, as well as for other political and charitable

organizations pursuing similar objectives.

       91.     After IAP/AMS purportedly went out of business, the conferences continued

under AMP’s auspices. Remarkably, in 2006 AMP, within just three months after it was

purportedly formed as a “new” organization, was able to organize a convention attended by over

700 people in an upscale hotel that was in every way a duplication of the earlier IAP/AMS

gatherings. The audience, content, format, management, speakers, and their message, remained

the same under the AMP imprimatur as it had been under IAP/AMS. Magdi Odeh was listed as

“point of contact” for the convention; he was an organizer of events for IAP and, as noted above,

part of the “AMP Transition.”       Speakers at the inaugural 2006 AMP Annual Conference

included Rafeeq Jaber, Kifah Mustapha and Osama Abuirshaid, as well as Raeed Tayeh, a

former employee of IAP/AMS.        Additional speakers included Nihad Awad, the head of CAIR

which was formed by leaders of IAP/AMS where Awad had been employed, and Sheikh Jamal


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Said, the ultimate religious authority for IAP/AMS.    The mere presence of these prominent IAP

personalities at the inaugural AMP convention validated the purpose and authenticity of the

“new” organization. It sent a clear signal to the pro-Hamas public that IAP/AMS was still here;

and that AMP was the authentic and validated continuation of the most significant Islamic

organization on behalf of Palestine in the United States.

       92.     The 2007 AMP Conference was more of the same. A noted speaker was Sheikh

Mohammad Al Hanooti, a member of the Palestine Committee, a former President of IAP and an

organizer of the 1993 Philadelphia meeting. Other speakers included Sheikh Ziad Hamdan, the

Imam of the Islamic Society of Milwaukee, identified by the government as an active fundraiser

for HLF and a speaker at the 2001 IAP convention. The speakers again included well-known

IAP personalities such as Sheikh Jamal Said, Nihad Awad, Sufian Nabhan, Rafeeq Jaber, Osama

Abuirshaid, Kipha Mustafa, and numerous others who had appeared at previous IAP conventions

and events. AMP and AJP also sponsor other conferences, fundraisers and events, just as

IAP/AMS did. The success of these events results from the same network, capability and

reputation possessed by the IAP/AMS organization. Like the IAP/AMS events, these events

continued to support the same mission and objectives, have similar speakers, and raise funds for

the same or similar purposes.

       93.     AMP/AJP is closely allied with the Arab-language newspaper, Al-Meezan, which

Abuirshaid started publishing in 2005, just as IAP/AMS were allegedly shutting down.

Abuirshaid was previously employed by IAP as the editor of IAP’s similar newspaper, Al-

Zaytounah. The two newspapers are strikingly similar in format, had nearly identical web pages,

targeted the same audience, carried similar content, relied on overlapping advertisers, and, on

information and belief, had very similar circulation. Like Al-Zaytouna for IAP, Al-Meezan


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carried content consistent with AMP’s mission and was an important means to communicate

with the public that supported AMP.

       94.    Like its predecessors, AMP/AJP relies on a “chapter” system to organize events

and expand its geographic reach throughout the country.         From the very beginning, the

“transition” group sought to build AMP’s presence in other cities.          AMP soon developed

chapters in locations that largely overlapped the locations where IAP/AMS had previously

maintained chapters. These included chapters in the Chicago area, Detroit area, New Jersey,

District of Columbia/Virginia, and Milwaukee.

       D.     AMP is Still Promoting Hamas Ideology and Fundraising for Hamas.

       95.    AMP claims on its website—just as IAP/AMS did—that it is “all about educating

people about Palestine” and nothing more. However, it is in fact continuing the full program and

mission of AMS/IAP and HLF: to act as the major supporter of Hamas and its ideology and

political agenda in the United States. This includes, inter alia, running national and local

conventions and conferences directed to the identical audiences of the events run by the

IAP/AMS organization, with the largely the same organizers, speakers and agenda; publishing

Hamas propaganda on social media; organizing and promoting fund raising for political activists

and “charities” that direct money to Hamas-supervised and controlled entities in Gaza; and,

maintaining close relationships with Hamas leadership in the Middle East.

       96.    The circumstances in Gaza have changed since the AMS/IAP organization began

operating under the AMP/AJP names. Under the leadership of Ismail Haniyeh, Hamas forcibly

took control of Gaza on June 14, 2007, and thereby became responsible for Gaza’s social welfare

and economic needs. However, this did not fundamentally change the unlawful consequenc of

supporting Hamas. As the Seventh Circuit recognized in its 2008 opinion, meeting humanitarian

needs in a quasi-governmental role enhances Hamas’s reputation and power.           By publicly
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addressing humanitarian needs—including providing food, housing, infrastructure and

education—Hamas solidifies its ability to retain the allegiance of the population and to continue

its assault on Israel.

        97.     After taking over Gaza in June, 2007, Hamas’s leadership continued its military

activities, diverting substantial funds to weapons production and the construction of underground

tunnels reaching into Israel for the purpose of infiltration by terrorists. Armed conflict between

Hamas and Israel in 2008-2009 and 2014 caused great damage to the civilian population and

infrastructure placing greater pressure on the ability to Hamas to govern. AMP continues

materially to support the same basic Hamas efforts and ideology, as did HLF and IAP/AMS.

        98.     Mindful of the past experiences of their predecessor entities (and concerned over

government scrutiny and legal risk), AMP outwardly claims not to send or receive money to or

from overseas. This contention is consistent with AMP’s careful approach to avoiding legal

liability while attempting to continue the same activities as HLF and IAP/AMS. AMP, for

example, invited participants at its 2014 conference to “come and navigate the fine line between

legal activism and material support for terrorism.” 1

        99.     While AMP and AMS appear to avoid any direct support for Hamas, they have

continued to provide indirect support through intermediary organizations. This is exactly the

activity that Magistrate Judge Keys found as a basis for IAP/AMS’s liability under the ATA.

Boim v. QLF, 340 F. Supp. 2d at 910. The Seventh Circuit held that such indirect support was

nonetheless material support for Hamas that could give rise to liability under the ATA:

                Nor should donors to terrorism be able to escape liability because terrorist and
                their supporter launder donations through a chain of intermediate organizations.


1
  Shane Harris, Pro-Palestinian Group Lectured On Skirting Terror Laws, THE DAILY BEAST
(Dec. 05, 2014), https://www.thedailybeast.com/pro-palestinian-group-lectured-on-skirting-
terror-laws.
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               Donor A gives to innocent-appearing organization B which gives to innocent-
               appearing organization C which gives to Hamas. As long as A either knows or is
               reckless in failing to discover that donations to B end up with Hamas, A is liable.

Boim III, 549 F.3d at 701-02.

       100.    For example, AMP indirectly provided material support to Hamas by arranging to

have payments sent to purported charitable organizations, which act as intermediaries, rather

than funneling them through HLF, as had been done previously. At its annual conventions, AMP

sets aside space for a variety of vendors and organizations that are also event sponsors—just as

IAP did at its annual conventions. Prominent among these sponsors are charities devoted to the

Palestinian cause, including (among others) Baitulmaal, Zakat Foundation, Islamic Relief and

United Muslim Relief. These organizations raise funds at the AMP conventions to send overseas

for the ostensible purpose of ameliorating the suffering in Gaza. Each of these organizations has

close connections with Hamas and disburses funds through Hamas operatives.

       101.    For instance, Baitulmaal, Inc., is one of three United States charities on the

“approved list” of the Union of Good, the charity sponsored by Sheikh Yusuf Qaradawi, which

was designated in 2008 by the United States Department of the Treasury as a Specially

Designated Global Terrorist group.      Gaza-based Unlimited Friends Association for Social

Development (“UFA”) is closely aligned with senior Hamas leaders and openly states that it

provides support to the children of “martyrs,” a code-word for deceased Hamas terrorists. UFA

openly states that it channels funds from Baitulmaal to the “families of martyrs of the Palestinian

people.” Baitulmaal has also openly distributed meat to Hamas functionaries and government

workers on Muslim holy days claiming that “it is a matter of principle for the charity to help

[Hamas] officials who can’t afford to buy meat.” UFA and Baitumaal share staff.




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        102.   Baitulmaal is a consistent supporter of AMP. It has sponsored numerous AMP

events including its conventions from at least 2007 until the most recent in November 2018.

        103.   UFA receives direct support from additional AMP event sponsors including,

Helping Hands for Relief and Development, the Zakat Foundation of America, and United

Muslims Relief. These funds are raised at AMP conventions. In August 2015 AMP, under the

supervision of Abuirshaid, organized an event in Detroit, Michigan on behalf of United Muslim

Relief that raised approximately $200,000. In 2016, a poster on the AMP’s Facebook page

called upon the public to donate money through the “Al Meshkah Charitable Society.” Al

Meshkah is a conduit to Hamas and was so designated by the Government of Israel in February

2008.

        104.




        105.   AMP has also continued to provide material support to Hamas through its open

fundraising support for a pro-Hamas organization called Viva Palestina. This intermediary

organization is the creation of George Galloway, a former member of the British Parliament. It

claims to provide “humanitarian aid” to the Palestinian people. This aid consists of money and

assistance provided directly to Hamas and Hamas entities. In March 2009, the Viva Palestina

activists arrived in Gaza with funds and equipment. The “activists” were received, and Galloway

was personally thanked by Ahmed Al-Kurd, Hamas’ Minister of Social Welfare. (The U.S.

Department of the Treasury had, on August 7, 2007, previously designated Al-Kurd and the Al-

Salah Society, a charity that Al-Kurd operates in Gaza, as a “front for Hamas.”) Galloway


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handed substantial sums of money and equipment directly to Hamas leader Ismail Haniyeh,

stating, “But I, now here, on behalf of myself…are giving three cars and £25,000 in cash to

Prime Minister Ismail Haniyeh. Here is the money. This is not charity. This is politics.” This

“gift” was a small portion of the funds and equipment that was given to Hamas by Viva

Palestina. The beneficiaries included the same organizations in Gaza that had been funded by

HLF.

       106.    A draft 2009 AMP press release emphasizes AMP’s significant direct role in

facilitating fundraising efforts by Viva Palestina:

               Most recently AMP has endorsed and hosted several events for
               British MP George Galloway, who was in the United States raising
               funds for Viva Palestine and his second aid convoy to Gaza.
               AMP-sponsored fundraisers took place in Dallas, Texas; Kansas
               City, Milwaukee, Minneapolis and in New Jersey, where in one
               night Galloway raised more than $300,000.

               “AMP has the perspective to go out and do things,” Galloway told
               the open house guests (in an event held near Chicago on April 15,
               2009). “I would not have had the success I have had here if it
               weren’t for AMP.”

       107.     Galloway has paid tribute to AMP “who of all the organizations with which I’ve

worked here in the United States are far and away producing the biggest meetings and the

biggest fundraising, and I want to congratulate them on that. In New Jersey, they organized a

fundraising dinner to which I spoke. We raised $360,000 in two hours.” AMP hosted numerous

fundraising events for Galloway and Viva Palestina, including on January 30, 2010 in Secaucus,

New Jersey where Galloway asked the audience “to give me something to go back to Gaza

with…” Other fundraisers for Viva Palestina included (a) in Minneapolis in June 2009 hosted by

AMP board member Hussein al-Khatib, (b) in Brooklyn, New York on May 21, 2010, and (c) in

Chicago, Illinois on May 23, 2010. Abuirshaid was a frequent speaker at these events in support

of Galloway and Viva Palestina.
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       108.   By organizing and supporting fundraisers for Viva Palestina with knowledge that

the funds were being sent directly to Hamas and Hamas-supported organizations, AMP continues

an IAP/AMS core mission of raising funds for Hamas-related groups. In knowingly raising

funds for Hamas, AMP is providing material support to Hamas, just as its predecessors did.

       E.     AMP/AJP Operates within the Same Interconnected Network as Its Alter
              Egos and Predecessors.

       109.   The current active AMP/AJP has also inherited the network of supporters,

management, and donors that previously served IAP/AMS and HLF. For example:

       110.   The Mosque Foundation. The Mosque Foundation in Bridgeview, Illinois, is the

charitable arm of the Bridgeview Mosque. Together with its individual leaders, the Mosque

Foundation is a significant supporter and funder of AMP/AJP, just as it was a constant supporter

and funder of IAP/AMS and HLF. The consistent and generous support of the Mosque

Foundation and its affiliates and leaders was an essential asset of IAP/AMS. In many cases, the

Mosque Foundation participated directly in the IAP/AMS organization’s activities, often with

blurred (or non-existent) boundaries between the Foundation and IAP/AMS.

       111.   The Mosque Foundation has a history of donating and directing money to terrorist

organizations. It previously donated and solicited significant funds to HLF and KindHearts as

well as to Benevolence International Foundation and Global Relief Foundation, both of which

were designated as financiers of terrorist organizations by the United States Treasury Department

in 2002. The Mosque Foundation directly subsidizes and supports AMP by paying the salary of

AMP’s “voluntary executive director,” Abdelbasset Hamayel, who had previously been a central

leader of IAP/AMS and an employee of KindHearts.

       112.   Sheikh Jamal Said. The Mosque Foundation’s Imam, Sheikh Jamal Said, was the

ultimate religious authority for IAP/AMS and, in the words Defendant Rafeeq Jaber, Sheikh Said

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is the “religious leader of the community.” Sheikh Said was identified by the government as a

member of the Palestine Committee. He was also identified in 1993 as Treasurer and a member

of the Board of Trustees of the Al-Aqsa Educational Fund, Inc., a funder of Hamas based in

Oxford, Mississippi. In 1993, the Al-Aqsa Educational Fund, Inc., described by the government

as a “financier of terror disguised as a charitable organization…,” was designated by the U.S.

Department of the Treasury as a Specially Designated Global Terrorist Entity Muhammad

Salah, a Boim Defendant, stated that Jamal Said was instrumental in recruiting him into Hamas.

(Salah, in a separate case, United States v. Muhammad Hamid Khalil Salah, 03-cr-978-2 (N.D.

IL), was convicted, and imprisoned for obstruction of justice in the Boim Action.)

       113.    There has been, and continues to be, substantial intertwining of the leadership and

supporters of the Mosque Foundation and what was the IAP/AMS organization and what is now

AMP. Jamal Said, for instance, regularly spoke at IAP events and is a frequent speaker at AMP

conventions and fundraisers.       As demonstrated below, leaders of AMP/AJP, including

Defendant Rafeeq Jaber and Abdelbasset Hamayel have been prominent leaders of the Mosque

Foundation and its affiliates for decades.

       114.    Rafeeq Jaber. Jaber served as president, principal spokesman and recognized

leader of AMS from its inception in 1993 and later became the head of the IAP National

organization. Jaber remained the leader of IAP/AMS until it allegedly dissolved in 2004 or

2005. Jaber admits that he personally was an active fundraiser for HLF, and that AMS had a

fundraising contract with HLF.

       115.    Jaber has also long been the eminence grise of Chicago-area organizations that

support Hamas terrorism. Jaber has had a long-term relationship and leadership role with the

Mosque Foundation and has served as President of the Board of Directors of the Bridgeview


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Mosque. In 2006, Jaber was the initial registered agent for U.S. Palestinian Community Network

(“USPCN”), a purported community group which, on information and belief, is an affiliate of the

Popular Front for the Liberation of Palestine, a designated terror organization based in Gaza.

       116.    Jaber has played a significant role with AMP/AJP since their inception. He was a

prominent speaker at the very first AMP convention in 2006 and has been a frequent and

honored speaker at AMP events since that time.         He has also publicly declared his close

relationships to a number of AMP leadership figures. For example, he has stated that he loves

Hatem Bazian and Abuirshaid more than brothers. Salah Sarsour calls Jaber his “brother.”

       117.    Jaber’s business, Jaber Financial Services, which is located in the former office

building of AMS and IAP, is a regular donor to AMP.            In 2015, Jaber signed a petition

designating himself as a representative of AMP. Jaber has been a central participant in board-

level business decisions for AMP and was integral in decisions concerning the corporate forms

of the AMP entities. Jaber prepares and files AMP/AJP’s federal and state tax returns




       118.    In public statements, Jaber has drawn an equivalence between IAP and AMP. For

example, he stated in 2011 that “the Zionist organizations will be working against AMP and they

closed IAP.”

       119.    Jaber also personally oversaw the windup of IAP/AMP and handled the

monetization of its assets and payment of creditors. The Boims received a total of $14,386 from

IAP and AMS plus some trinkets from its “store.” Jaber made no effort at all to pay any more of

the Boim Judgment. He testified that IAP/AMS never declared bankruptcy and that there was no

formal windup. He is unaware if the IAP/AMS board members knew about the judgment or any


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obligation to pay. He didn’t tell them. He never discussed the Boim Judgment at any board

meetings. He claims that he never understood that as the President of the judgment debtor he

had a fiduciary duty to see that the creditors were paid. He rejected the offer from Abuirshaid to

purchase the Al-Zaytounah newspaper, which would have generated money to pay creditors. He

explained the reason for not selling simply by stating, “[b]ecause it is a not for profit community

organization. We close we close.”

       120.     Abdelbasset Hamayel. Hamayel began working for IAP in 1997, assisting IAP

leader Sabri Samirah. He became the AMS/IAP office administrator in 1997 and became the

Director and Secretary General of IAP from 2002 until its purported closing. At the time

Hamayel assumed the position of Director and Secretary General of IAP, AMS was “IAP

National,” which made the two organizations functionally identical. In a 2003 deposition,

Rafeeq Jaber, then President of IAP, testified that Hamayel was responsible for producing AMS

and IAP’s “action letters…newsletters…(and) bulletins…,” which were essential elements of the

pro-Hamas propaganda offensive in the United States.         Jaber described Hamayel as “[t]he

employee that works for us, the executive director, the secretary. He is everything.” Abuirshaid,

another IAP/AMS leader, described Hamayel as playing an “important role” in “managing the

internal affairs” of IAP/AMS.

       121.    After IAP/AMS closed down, Hamayel moved to HLF’s successor KindHearts as

its Wisconsin and Illinois representative.       After KindHearts’ funds were frozen by the

government in 2006, Hamayel was hired in 2007 by Sheikh Jamal Said, to work at the

Bridgeview Mosque Foundation, where he became head of the Mosque Foundation Community

Center. Hamayel began doing work for AMP in 2008 and became AMP’s “voluntary” and

“temporary” Executive Director in January 2009. His salary is paid by the Mosque Foundation


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Community Center. Munjed Ahmad, a member of AMP’s board of directors, characterizes

Hamayel’s role as AMP/AJP’s “director of operations.”         Hamayel acknowledges that he

undertook a critical responsibility when he came on board at AMP, stating that his role was to

“help the organization start functioning.”

       122.    Although Hamayel outwardly claims that his only contact with people in Palestine

is with his family, Hamayel maintains close personal relationships with Hamas leaders in the

West Bank. One such relationship is with Sheikh Bassam Jarrar. Sheikh Jarrar, who lives in

Ramallah, is considered a member of the Hamas “aristocracy” because he was one of a group of

Hamas activists who were deported to Lebanon by Israel in 1992. At that time, then Israel

Defense Minister Yitzhak Rabin described Sheikh Jarrar as one of the Hamas leaders in the

Ramallah area. Consistent with Hamas’ ideology, Sheikh Jarrar has frequently stated that the

elimination of the State of Israel is a theological imperative.    On information and belief,

Hamayel also has a relationship with Khalil al-Hayya, a senior Hamas political leader who is the

spokesman for Yahya Sinwar, the current Hamas leader in Gaza. Hamayel often expresses his

support and affiliation with the Islamic bloc at Bir Zeit University in Ramallah, which is a

known affiliate of Hamas.

       123.    Osama Abuirshaid. Abuirshaid is an AMP/AJP board member and National

Policy Director. Abuirshaid was on the board of IAP/AMS through 2004 and was the editor of

IAP’s newspaper, Al-Zaytounah. According to Jaber, Abuirshaid was “from IAP National which

is…Chicago [and] in charge of everything from A to Z in the paper, what comes on the paper

and what goes into the paper.” Abuirshaid’s salary was paid by AMS. According to a document

filed by AMS with the Illinois Attorney General, Abuirshaid was one of the three highest paid

persons at AMS in 2000 and 2001, along with Jaber and Hamayel.


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       124.    When IAP/AMS purportedly went out of business, Abuirshaid offered to purchase

Al-Zaytounah from IAP/AMS, but Jaber declined to allow IAP/AMS to sell it.               Instead,

Abuirshaid set up a replacement newspaper, which he published under the name Al-Meezan,

from a location in Virginia. Al-Meezan was an important vehicle to communicate with AMP

supporters and publicize AMP’s agenda and political positions, just as Al-Zaytounah was the

primary communication for IAP/AMS.           In this newspaper and his other writings and

pronouncements, Abuirshaid continued the publication and advocacy of pro-Hamas positions.

The content, target audience, website and many of the advertisers of Al-Meezan were essentially

identical to those of Al-Zaytounah.

       125.     Abuirshaid attended the 2006 MAS convention. He and Hatem Bazian were

featured on a panel moderated by Rafeeq Jaber. On information and belief, Bazian and Salah

Sarsour approached Abuirshaid at that convention, to work with them to form the “new”

organization that became AMP. Abuirshaid claims to have declined at that time because he

“didn’t want to be a target” of the investigations and indictments then pending against HLF and

its leaders.   However, he immediately became a regular speaker at AMP events, and

acknowledges he was “very involved” as the speaker at “AMP’s conferences and events (and)

did a lot of their fundraisings…working on setting the tone of AMP and trying to articulate (its)

positions….” By 2010, Abuirshaid had become a board member and employed as a paid

consultant acting as National Policy Director. Bazian has testified that bringing Abuirshaid into

AMP had become a “necessity.”

       126.    Abuirshaid plays a major role in maintaining close ties with Hamas leadership.

For instance, on February 25-26, 2017, Abuirshaid appeared in Istanbul, Turkey as a headline

speaker at the “Conference for Palestinians Abroad” (“PalesAbroad”) organized and attended by


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prominent Hamas leaders. The event was promoted by the Qassam Brigades (the military wing

of Hamas) and headed by Dr. Essam Yusuf, a/k/a Essam Mustafa, trustee of Interpal, a Hamas-

affiliated “charity” designated by the United States in 2003 as a “terrorist entity.” The Istanbul

conference received direct praise from Yahya Sinwar, the current leader of Hamas in Gaza who

was designated by the United States Department of State in September 2015 as a Specially

Designated Global Terrorist, and Khaled Mishaal, the leader of Hamas based in Qatar, who was

similarly designated by the United States in August 2003. At the same time the organization was

discredited by the Palestinian Authority as a “front for Hamas.” More recently, in October 2017,

Abuirshaid spoke at another PalesAbroad meeting in Amman, Jordan.

       127.    Abuirshaid has travelled multiple times to Qatar, including in the past year, where

he has met with Ayan Jarwan. Jarwan served time in federal prison for conspiring to violate the

International Emergency Economic Powers Act for sending funds to charities that were

designated by the United States as funders of Al Qaeda.

       128.    As AMP/AJP’s National Policy Director, Abuirshaid also acts as a major and

prolific exponent of the Hamas political line in the United States.           Although Abuirshaid

ostensibly disclaims any connection with Hamas, his public positions and pronouncements praise

Hamas and advocate Hamas’ position on eliminating the State of Israel, including through armed

“resistance.” For example, in a July 12, 2014 Facebook posting, he wrote that in the context of

war between Israel and Hamas the believers have only two “good” options, “victory or self-

sacrifice in the path of Allah.” This is a slogan frequently used by Hamas.

       129.    Hatem Bazian. Bazian is the Chairman of AMP/AJP and was involved in the

“transition” to AMP in 2005-2006. Bazian is a well-known and controversial academic and




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political figure, who has been a vocal critic of the existence of the State of Israel and openly

expresses views aligned with Hamas.

       130.    Bazian has known Rafeeq Jaber, president of IAP/AMS, since the mid-1990s and

was a regular participant in IAP/AMS events, including as a speaker for at least five separate

IAP conferences and events. In 2004 he was a featured speaker at a fundraiser for KindHearts

together with Mohammed el-Mezain, a leader of HLF who is now in prison for providing money

to Hamas. He also appeared along with Abuirshaid on a panel moderated by Jaber at the 2006

MAS convention.

       131.    As with Abuirshaid and Hamayel, Bazian maintains ties with foreign

organizations tied to Hamas. For example, in 2014, Bazian spoke at a fundraiser in the United

Kingdom for Interpal, an organization that was designated by the United States Treasury in 2003

as a Specially Designated Global Terrorist because of its affiliation with Hamas.

       132.    Salah Sarsour. Salah Sarsour is the CEO of Prime Furniture in Milwaukee,

Wisconsin. He owns and operates the business together with his two brothers, Emad (Imad) and

Jamil. Emad was for many years a member of the IAP/AMS board of directors. Prime Furniture

was a donor and bundler of donations to HLF and a consistent and generous financier of IAP

events. Rafeeq Jaber identified Salah Sarsour as “active in IAP,” and Salah Sarsour was a

member of the planning committee for the 2001 IAP convention.

       133.    Salah Sarsour is a permanent resident of the United States but is deeply connected

to Hamas figures in the Middle East and has a background as a Hamas operative and funder. He

was imprisoned in Israel on October 14, 1994 for activities on behalf of Hamas. Israeli police

records state that he was indicted for sheltering and providing a weapon to a Hamas militant. His

brother, Jamil Sarsour, after he was arrested in 1999 at the Tel Aviv airport, told Israel Police


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that Salah and he had opened a special bank account to fund Hamas. According to Jamil, this

money, in the form of 39 checks drawn on the account, was given directly to the Hamas military

wing including to Adel Ahmad Awadallah, the military head of Hamas on the West Bank with

whom Salah Sarsour had once shared a prison cell. Salah had sent Jamil to the West Bank to

deliver the funds to Awadallah and others. Awadallah was identified by the government as a

“high-ranking Hamas military leader who was responsible for facilitating several deadly terrorist

attacks carried out in Israel.” United States v. Marzook No. 03-cr-978 (N.D. IL) Dkt. No. 59, p.

6. (Filed 8/19/04).     Jamil Sarsour also told Israel Police that he had a close relationship with

Hassan Yousef, the political head of Hamas on the West Bank.

       134.    Salah Sarsour was the chairman of the 2006 MAS convention where AMP was

formed and was also Chairman of the MAS Milwaukee chapter. Salah Sarsour testified that he

was consulted by Hatem Bazian on organizing AMP. This is confirmed by internet bulletin

board posts referring to Salah Sarsour recruiting “people from in Detroit and Texas” who were

“ready to start working” on AMP in early 2006. On information and belief, Sarsour helped plan

the initial AMP conventions in 2006 and 2007. He testified that he joined the AMP board in

2009 or 2010, at or about the time he gave up the chairmanship of the MAS Milwaukee chapter,

and has served on the board to date.       Salah Sarsour is AMP’s “chapter coordinator” and an

important fundraiser.

                                                          His business, Prime Furniture, sponsored

AMP conventions and events, including the very first convention in 2006. He was also chairman

of the 2014 and 2015 AMP conference committees.

       135.    Hussein al-Khatib.      Al-Khatib was a Regional Director for HLF based in

Minneapolis after holding an important position as Director General for HLF in the West Bank.


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In that capacity he was directly responsible for sending funds to Hamas organizations and was a

signatory on HLF’s bank account.

       136.    Al Khatib also maintained close ties with Hamas-affiliated people in the Middle

East. He was identified by the government as part of the Hamas social infrastructure in Israel

and the Palestinian Territories and made known his close relationship with Hamas spiritual

leader Bassam Jarrar. He also prominently publicized the views of Khalil al-Hayya, a senior

Hamas political leader who is the spokesman for Yahya Sinwar, the current Hamas leader in

Gaza, and he repeatedly praised the views of Mousa abu Marzook, a prominent Hamas leader

who was instrumental in organizing the Palestine Committee in the United States. Al-Khatib

widely praised Hamas terrorists and terror attacks. For example, in November 2014 he paid

tribute to a Hamas terrorist who killed a baby in Jerusalem.

       137.    Al-Khatib became one of the original AMP board members. He was the sponsor

of a fundraising event for George Galloway in Minneapolis in June 2009 and was a close friend

of Salah Sarsour. The 2009 phone number of the AMP Minneapolis chapter belonged to al-

Khahtib.

       138.    Kifah Mustapha. Until 2015, Mustapha was the co-Imam of the Bridgeview

Mosque, and from 2002 to 2014, he was the associate director of the Mosque Foundation.

Mustapha is currently the Imam and Director of the Prayer Center of Orland Park, Illinois, and

representative for Dar El Fatwa of Lebanon in the United States. Dar El Fatwa is an affiliate of

the Muslim Brotherhood. Its leader is considered the most significant Muslim Brotherhood

leader in Lebanon. He supports jihad against Israel including attacks from Gaza.

       139.    Mustapha was the Illinois representative of HLF and was its registered agent in

this State. As its registered agent, Mustapha described his role as “soliciting money for the


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various programs HLF” held in Illinois and elsewhere, including internationally. Mustapha was

also closely connected to IAP. He spoke at IAP events, including the 2001 IAP convention, and

now regularly speaks at AMP conferences and fundraisers including the initial AMP convention

in 2006 and the following convention in 2007. He has filmed promotional videos for AMP.

       140.      Mustapha was identified by the government as a member of the Palestine

Committee or one of its related organizations. In 2010, Mustapha filed suit against the Illinois

State Police claiming wrongful discharge after he was terminated as its first Muslim chaplain.

Mustapha v. Monken, 1:10-cv-05473 (N.D. Ill.). Judge Guzman granted summary judgment to

defendants, finding that the discharge was lawful in view of Mustapha’s close connection to

HLF, a designated terrorist organization. Mustapha v. Monken, No. 10-cv-05473, 2013 WL

3224440, *10 (N.D. Ill. June 25, 2013).

       141.      Sufian Nabhan.   Nabhan was an IAP director and chapter leader based in the

Detroit area. An early “transition” chat reported that he was identified by Salah Sarsour as

“ready to start working” on forming AMP. Magdi Odeh later stated, however, that they “would

leave brother Sufian out…since he is well associated with IAP.” That “leaving out” was short-

lived (if it ever existed). Nabhan                                             joined the initial

AMP board in 2009. Nabhan was the IAP chapter leader in Detroit. The 2009 list of AMP

chapters shows Nabhan’s phone number for the AMP Detroit chapter.

       142.      Yousef Shahin. Yousef Shahin was identified by Rafeeq Jaber as an active

member of IAP in New Jersey where he organized events. He was also on the board of

IAP/AMS as of 1999. He became a board member of AMP in 2009. He organized a fund raiser

for AMP on behalf of George Galloway and Viva Palestina that took place in New Jersey on

June 21, 2009.


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        143.   Raeed Tahye. Raeed Tahye was active in IAP and a Research Fellow at Boim

Defendant UASR. He was an employee of IAP working closely and under the direction of

Osama Abuirshaid. Tahye was a speaker at the 2006 MAS convention and at the inaugural 2006

AMP convention.

        144.   Magdi Odeh. Magdi Odeh organized IAP’s first annual “Jerusalem Festival for

English Speakers” held in Chicago in 1999. He was instrumental in organizing the “transition”

from IAP/AMS in 2005-2006 together with Hatem Bazian. He became an officer of AMP in

2007.

        F.     Neither IAP/AMS and HLF nor AMP/AJP Have Operated with Regard for
               Corporate Formalities.

        145.   Corporations are a legal fiction created to allow individuals to conduct business

through a separate entity and insulate themselves from potential ramifications such as liability

and tax consequences. In order to avail themselves of the protections that corporate existence

affords, the corporation must comply with all of the statutory and regulatory requirements

imposed by the state of incorporation.

        146.   Not-for-profit corporations are a specialized form of corporation that can be

organized in order to carry out a charitable or civic purpose. Not-for-profit corporations are

subject to additional legal requirements beyond those imposed on corporations organized for

profit in order to ensure that they are true to their corporate purpose and not unfairly taking

advantage of the legal fiction that allows them to exist.

        147.   HLF, IAP and AMS, the corporate defendants in the Boim Action, and AMP and

AJP, the corporate defendants in this suit, were all organized as not-for-profit corporations

pursuant to the California Nonprofit Corporation Law (“the CNCL”).



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       148.    The CNCL imposes requirements typical of state not-for-profit statutes. Among

the obligations that the CNCL enumerates in return for recognition of its fictional existence as a

legal entity are electing directors, choosing and disclosing officers, holding regular meetings at

least annually, keeping appropriate minutes of meetings, and acting consistently with an

approved corporate purpose.

       149.    IAP was incorporated pursuant to the CNCL on November 5, 1986 by Ghassan

Elashi. According to Abdelbaset Hamayel, who was a board member and office administrator of

IAP and the Secretary of AMS, corporate formalities were not observed for IAP and AMS.

Rather, AMS served as the legal entity and did business under the name of IAP.

       150.    In fact, as set forth herein, the leadership of IAP/AMS had little regard for the

distinctions between the various legal entities that comprised what came to be known as “IAP

National.” IAP National was not a legal entity, but an umbrella organization that encompassed

various other informal and legal entities, including IAP Illinois; IAP California; AMS; AMELP;

and IAP Texas. Those entities loosely operated as a single enterprise, with the entity occupying

the primary position in the network shifting, depending on the location of the individual who was

designated as the leader of the network at the time. The fluidity of IAP National’s various

constituent organizations and HLF was typical and characteristic of Muslim Brotherhood and

Palestine Committee organizations. See Boim v. QLI, 340 F. Supp. 2d at 906-907.

       151.    The IAP National organizations observed few corporate formalities and did not

differentiate or maintain separate corporate structures. As the District Court observed in the

Boim Action when refusing to treat the various IAP entities as separate, the entities “were so

intertwined and involved with that organization as to make any formal distinction meaningless.

The defendants cannot now hide behind their ambiguous and amorphous corporate design.”


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Boim v. QLI, 340 F Supp. 2d at 908. The Seventh Circuit agreed, holding that IAP “appears to

be either an alter ego of [AMS] or just an alternative name for it, and need not be discussed

separately.” Boim III, 549 F.3d at 687-688.

       152.    If anything, AMP and AJP have been operated with even less regard for corporate

structure and formalities. AMP was incorporated under the CNCL on July 28, 2006; AJP was

incorporated as a 501(c)(3) corporation approximately three years later. However, AMP and

AJP were never treated as distinct entities. They operated with common leadership and had no

separate purpose (other than to use the AJP entity to avoid disclosing AMP’s activities on

publicly-filed tax forms). They appear to have operated with the same board of directors; and

they have no records of separate officers, board meetings, corporate minutes, resolutions, or

other formalities. Ultimately, the AMP entity was suspended by the California Secretary of State

(without any formal windup), and AJP became the de facto operating entity. AJP now operates

under the name “American Muslims for Palestine” (AMP) and has essentially the same board of

directors and managers as had previously operated the pair of entities.

       153.    Neither AMP nor AJP has ever consistently complied with the CNCL’s

requirements for operating as not-for profit, public benefit corporations. The single board of

directors that apparently served both entities was unelected, and there is virtually no

documentation regarding the selection of board members or officers. In fact, AMP does not

appear to have had a board at all until approximately 2009. Once there was a board, the board

members and officers appear to have been generally unaware of which entity they served.

Meetings of directors were typically informal and, according to deposition testimony, often

impromptu and without notice. Meeting minutes exist for only a few board meetings, with no




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minutes documenting meetings during a number of years. There is virtually no documentation of

formal corporate resolutions or acts.

       154.    For all intents and purposes, “American Muslims for Palestine” has not operated

as a corporate entity (or pair of corporate entities) at all. Rather, it has operated as a loose,

unstructured enterprise driven by a core group of like-minded individuals, with little to no regard

for corporate structure or formalities. This core group of individuals is largely the same group

that ran IAP/AMS and seeks to continue the same enterprise.

       155.    The leaders of IAP/AMS, HLF and AMP/AJP have all failed to comply with the

CNCL’s requirements for operating as not-for profit, public benefit corporations. They cannot

now seek to invoke the corporate existence of these entities to shield their ongoing enterprise

from liability for the Boim Judgment. Rather it is fair and legally appropriate to regard them as

alter egos of each other, all essentially filling the same purpose with the same mission, goals,

leadership, donors, and methods of operation.

         THIS LAWSUIT DOES NOT SEEK TO SUPPRESS SPEECH BUT TO
       DEMONSTRATE DEFENDANTS ARE ALTER EGOS AND SUCCESSORS

       156.    This lawsuit is not directed at AMP/AJP’s ideology, the content of its message,

what is said on its websites, or at the expressed views of individuals who attend its conferences.

Plaintiffs’ allegations regarding AMP/AJP’s ideology and message, and the manner in which that

message is delivered, are offered solely to demonstrate that the ideology and message of

AMP/AJP is virtually identical to HLF, IAP and AMS. This is evidence that AMP and AJP are

the alter egos and successors to the legal entities that were the material supporters of terrorism

against whom the Boims have a valid outstanding judgment.

       157.    The ideology and message of HLF, IAP and AMS were central to Judge Keys’

determination that these entities were liable in the original Boim Action. For instance, in

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granting the Boims’ motion for summary judgment on liability in that case, Judge Keys

determined that IAP and AMS “desired to help Hamas’ activities succeed” and engaged in acts

of “helping those activities succeed” based on evidence that IAP/AMS (among other things): (a)

held a meeting where attendees condemned the 1993 Oslo Accords and vowed to ensure its

failure; (b) sponsored a speaker who urged “supporting Jihad”; (c) discussed ways to support

“the Movement” (being careful not to use the name “Hamas”); (d) published and distributed pro-

Hamas documents; (e) published an editorial advocating martyrdom; (f) assisted fundraising and

encouraged donations to groups found to have supported Hamas; (g) allowed such groups to set

up booths at conventions; (h) published documents designed to garner support for individuals

affiliated with Hamas; (i) invited pro-Hamas speakers to attend conferences and conventions;

and (j) “subtly” praised terrorist activities by using terms such as “martyrs” and “freedom

fighters.” Boim v. QLI, 340 F. Supp. 2d at 908-912. These, of course, are the exact same types

of conduct that AMP/AJP continues to engage in to this day.

       158.    Judge Keys noted in reaching this finding that, while some of the Boim

Defendants’ ideology and messaging may not in themselves violate the law, these were evidence

of key elements of the Boim’s section 2333 claim:

               Of course, publishing documents in support of members of Hamas
               or in support of organizations or people known to support Hamas
               is not against the law. But all of this does tend to evidence a desire
               on the part of IAP to help Hamas succeed.

Boim v. QLI, 340 F. Supp. 2d at 911.             The Seventh Circuit confirmed that subjecting

organizations that provide material support for organizations (including Hamas) known to

engage in terrorism to liability “would not violate the First Amendment.” Boim v. HLF, 549

F.3d at 700.



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       159.   Nor do Plaintiffs allege that Defendants are liable for espousing any ideology,

promulgating any speech, or associating with any person or organization. Plaintiffs do not

request that this Court suppress or limit any speech or association. This lawsuit seeks only to

enforce an existing judgment. As alleged herein, AMP’s ideology, messages and associations

continue of the same ideology, messages and associations previously endorsed by IAP, AMS and

HLF. Use of this evidence as part of Plaintiffs’ proof that AMP is a mere continuation of its

predecessors—and is therefore an alter ego and successor—does not implicate the First

Amendment here any more than it did in the Boim Action.

              DEFENDANTS ARE LIABLE FOR THE BOIM JUDGMENT

       160.   From their creation, HLF, IAP and AMS worked in tandem to support Hamas.

See Boim v. QLI, 340 F. Supp. 2d at 909. The interrelationship between the organizers and

donors of Boim Defendants IAP/AMS and HLF, and the current beneficiaries of their largess and

efforts—AMP/AJP—is no coincidence. It is the continued implementation of a plan initiated

over thirty-five years ago by Khalid Mishal and Mousa abu Marzook to support Hamas in the

United States by whatever available means can be devised and with any individuals who are

available to assume necessary roles to skirt the laws of the United Sates and law enforcement.

The conviction of HLF and its leaders and the economic losses suffered by IAP/AMS as a result

of the Boim Judgment were not terminal events. They were simply temporary setbacks.

       161.   Defendants AMP and AJP are the alter egos and successors of Boim Defendants

IAP/AMS and HLF. Defendants are controlled and operated by the former leaders of these Boim

Defendants. AMP was headquartered on the same street as AMS and IAP and established by

leaders and activists of IAP/AMS and HLF. AMP/AJP continues the same enterprise, mission

and activities as the Boim Defendants. As alleged herein, the good will and many intangible


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assets of the Boim Defendants were transferred to AMP and AJP and continue to be used by

them today.

       162.    IAP/AMS and HLF were abandoned and replaced by AMP/AJP in order to permit

the same ongoing enterprise—formerly conducted through the Boim Defendants—to continue

free and clear of the burden of paying the Boim Judgment. AMP was established in 2005 shortly

after summary judgment was entered in favor of the Boims in late 2004. AMP/AJP is IAP/AMS

and HLF, but just has a different name. These Boim Defendants were dissolved following the

judgments obtained in this case and were reestablished with the same officers and leaders and the

same stated goals under new names.        As such, they are a disguised continuance of their

predecessors. They have such a “unity of interest” and leadership with the Boim Defendants that

their independence and separate existence is a legal fiction that should not be upheld by a court.

The continuity of the enterprise, management and control in the new entities make them legal

successors and alter egos of Boim Defendants IAP, AMS and HLF.

       163.    Defendant Rafeeq Jaber is also an alter ego of IAP/AMS and/or subject to liability

under the doctrine of veil piercing. Jaber controlled these entities and used them as a front to

advance his personal objectives. In the guise of acting on behalf of the entities, Jaber directly

participated in the conduct giving rise to the Boim Judgment. In addition, IAP/AMS—as the

District Court and Court of Appeals in the Boim Action observed—followed few corporate

formalities and were all alter-egos of each other. The legal fiction of their separateness from

Jaber is equally tenuous and should not be upheld. Finally, as the IAP/AMS president and board

member responsible for the windup of IAP/AMS, Jaber owed fiduciary duties to creditors,

principally the Boims.    Jaber breached those duties by failing to monetize the assets of

IAP/AMS, including the Al-Zaytouna newspaper, and concealing from the Boims that the


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operations of IAP/AMS were going to be resurrected, using IAP/AMS’s good will and intangible

assets to begin raising funds that could be used, in part, to pay a portion of the Boim Judgment.

       164.    Allowing Defendants to escape liability based on the fiction of their separate legal

existence would enable Boim Defendants IAP, AMS, HLF, and Jaber to shield and transfer the

significant good will and intangible assets amassed by IAP/AMS over the years, and continue

with their same enterprise and mission, after the Boim Defendants were held to be material

supporters of international terrorism. The Boim Defendants should not be allowed to escape

liability simply by creating two new legal entities that, apart from their names, are in all material

respects identical to IAP/AMS and HLF and thereby shift the decades-long ongoing mission,

operations, activities and assets to those purported new entities.

       165.    The ATA provides a comprehensive scheme of criminal and civil liability aimed

at eradicating support for international terrorism. The material support provisions of the ATA

have been described by the Supreme Court as a “preventive measure—it criminalizes not

terrorist attacks themselves, but aid that makes the attacks more likely to occur.” Holder v.

Humanitarian Law Project, 561 U.S. 1, 35 (2010). Allowing the Boim Defendants—each of

which has been found liable as a “material supporter[] of international terrorism”—and their

leaders to re-open down the street and continue to operate without paying their victims would

send a message that this important statute, implicating a uniquely federal interest, can be ignored.

The effective criminal and civil enforcement mechanisms of the ATA will be thwarted if “fronts”

for people and enterprises that support terrorism can avoid liability merely by morphing into new

entities not subject to prior ATA judgments.

       166.    As alter egos and/or successors of Boim Defendants IAP/AMS and HLF,

AMP/AJP and Jaber are effectively the same entity or person as these Boim Defendants and are


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liable to Plaintiffs under 18 U.S.C. § 2333(a) for the unpaid portion of the Boim Judgment. This

Court should direct AMP, AJP and Jaber to satisfy the Boim Judgments and thereby achieve the

objectives and purposes of the ATA.

                                 COUNT I
              DECLARATORY JUDGMENT AGAINST DEFENDANTS
         AMERICAN MUSLIMS FOR PALESTINE (AMP) AND AMERICANS
         FOR JUSTICE IN PALESTINE EDUCATIONAL FOUNDATION (AJP)

       167.    Plaintiffs repeat and reallege paragraphs 1-166 above as if fully set forth herein.

       168.    Defendants AMP and AJP purport to be organizations apart and distinct from

Boim Defendants Holy Land Foundation for Relief and Development (HLF), the Islamic

Association for Palestine (IAP), and the American Muslim Society (AMS). AMP and AJP deny

that they are alter egos or successors of any Boim Defendant and contend that they are not liable

for any portion of the Boim Judgment.

       169.    AMP and AJP are in fact and as a matter of law the alter egos and/or successors in

interest of the aforementioned purportedly defunct organizations.

       170.    There is a substantial and continuing controversy between Plaintiffs and AMP and

AJP. A declaration of rights is both necessary and appropriate to establish that AMP and AJP

are the alter egos and successor of HLF, IAP and AMS, and that AMP and AJP are therefore

liable to Plaintiffs for the unpaid amount of the Boim Judgment.

       WHEREFORE Stanley Boim, individually and as administrator of the estate of

David Boim, deceased, and Joyce Boim respectfully request the Court to enter judgment in favor

of Plaintiffs and against Defendants American Muslims for Palestine and Americans for Justice

in Palestine on Count I herein as follows:




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       A.      Declare that the Boim Judgment against Islamic Association for Palestine and

               American Muslim Society entered in 2004 and affirmed in 2008 is currently valid

               and enforceable;

       B.      Declare that the Boim Judgment against the Holy Land Foundation for Relief and

               Development entered in 2012 is currently valid and enforceable;

       C.      Declare that American Muslims for Palestine and American for Justice in

               Palestine are the alter egos and successor of the Islamic Association for Palestine,

               American Muslim Society, and the Holy Land Foundation for Relief and

               Development;

       D.      Declare that American Muslims for Palestine and Americans for Justice in

               Palestine are fully and jointly and severally liable for any unpaid amount of the

               Boim Judgment; and

       E.      Award Plaintiffs such other relief as the Court deems just and proper under the

               circumstances.

                                 COUNT II
            DECLARATORY RELIEF AGAINST DEFENDANT RAFEEQ JABER

       171.    Plaintiffs repeat and reallege paragraphs 1-166 as if fully set forth herein.

       172.    Defendant Rafeeq Jaber, purports to be an individual person apart and distinct

from Boim Defendants the Islamic Association for Palestine (IAP), and the American Muslim

Society (AMS). Jaber denies that he is the alter ego of any Boim Defendant and/or is subject to

liability under the doctrine of veil piercing, and contends that he is not liable for any portion of

the Boim Judgment.

       173.    Defendant Jaber is in fact and as a matter of law the alter ego of the

aforementioned purportedly defunct organizations and/or is subject to liability for the Boim

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Judgment under the doctrine of veil piercing. As alleged herein, Individual Defendant Jaber

participated directly in the conduct giving rise to the Boim Judgment and was also directly

involved in deflecting Plaintiffs’ enforcement efforts by the concealed and fraudulent

continuation of IAP/AMS through new entities with different names, continues to control the

successors—AMP and AJP—as a front to continue the same types of personal goals he

previously sought to achieve through IAP/AMS.

       174.    In addition, as alleged herein, the Boim Defendants failed to comply with

requirements for maintaining their corporate existence, and the fiction of their corporate

separateness should not be observed. The Court should pierce the corporate veil and hold Jaber

liable for the Boim Judgment.

       175.    There is a substantial and continuing controversy between Plaintiffs and Jaber. A

declaration of rights is both necessary and appropriate to establish that Jaber is the alter ego of

IAP/AMS and/or is subject to liability under the doctrine of veil piercing, and is therefore liable

to Plaintiffs for the unpaid amount of the Boim Judgment.

       WHEREFORE Stanley Boim, individually and as administrator of the estate of

David Boim, deceased, and Joyce Boim respectfully request the Court to enter judgment in favor

of Plaintiffs and against Defendant Rafeeq Jaber on Count II herein as follows:

       A.      Declare that the Boim Judgment against Islamic Association for Palestine and

               American Muslim Society entered in 2004 and affirmed in 2008 is currently valid

               and enforceable;

            B. Declare that Defendant Rafeeq Jaber, is the alter ego of the Islamic Association

               for Palestine, American Muslim Society and/or is subject to liability under the

               doctrine of veil piercing;


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       C.      Declare that Defendant Rafeeq Jaber is fully liable for any unpaid amount of the

               Boim Judgment; and

       D.      Award Plaintiffs such other relief as the Court deems just and proper under the

               circumstances.

                                      COUNT III
                              ENTRY OF MONEY JUDGMENT

       176.    Plaintiffs repeat and reallege paragraphs 1-166 as if fully set forth herein.

       177.    The Boim Judgment is a final, non-appealable and currently fully enforceable

judgment against Holy Land Foundation for Relief and Development (HLF), the Islamic

Association for Palestine (IAP), and the American Muslim Society (AMS). To date, the Boim

Judgment remains only partially satisfied.

       178.    As alter egos and/or successors of Boim Defendants HLF and IAP/AMS, as

alleged herein, each of the Defendants is jointly and severally liable for the full amount of the

unsatisfied portion of the Boim Judgment.        Jaber is also liable for the full amount of the

unsatisfied portion of the Boim Judgment under the doctrine of veil piercing.

       WHEREFORE Stanley Boim, individually and as administrator of the estate of David

Boim, deceased, and Joyce Boim respectfully request the Court to enter judgment in favor of

Plaintiffs and against each of the Defendants on Count III herein as follows:

       A.      Enter Judgment in the full amount of the Boim Judgment, to the extent not yet

               paid, against each of the Defendants, jointly and severally; and

       B.      Award Plaintiffs such other relief as the Court deems just and proper under the

               circumstances.

                               COUNT IV
              FRAUDULENT CONCEALMENT AGAINST RAFEEQ JABER

       179.    Plaintiffs repeat and reallege paragraphs 1-166 as if fully set forth herein.
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       180.    Defendant Rafeeq Jaber served as an officer and director of IAP/AMS during and

following the Boim Action. In this capacity, Jaber oversaw the windup of IAP/AMS’s affairs

and the application of IAP/AMS’s assets to pay its creditors, including Plaintiffs. IAP/AMS’s

assets were insufficient to pay its debt to Plaintiffs, who were its principal (if not only) creditor.

       181.    Jaber owed fiduciary duties to Plaintiffs, as judgment creditors, including an

affirmative duty to disclose material facts bearing on Plaintiffs’ ability to recover on the Boim

Judgment.

       182.    Jaber was aware of and failed to disclose material facts that he had a duty to

disclose, including that (i) IAP/AMS was resuming operations and fundraising under the new

name AMP; (ii) IAP/AMS’s intangible assets and goodwill were being utilized and exploited to

permit AMP to stage successful and lucrative events and engage in fundraising; and (iii)

IAP/AMS retained a valuable newspaper, Al-Zaytouna, which it had not monetized, despite

Abuirshaid’s offer to purchase it.

       183.    In addition, as detailed above, Jaber made affirmative representations and took

actions that were misleading with respect to these material facts. These include (i) his statements

at his deposition in 2005 and elsewhere to the effect that IAP/AMS had ceased operations and

had exhausted their ability to pay; (ii) his subsequent conduct in turning over assets to the Boims

without disclosing the concealed facts in the preceding paragraph; (iii) speaking at AMP events

and participating in AMP activities without disclosing that AMP was a continuation of IAP/AMS

and was utilizing IAP/AMS’s good will and intangible assets for fundraising and to continue its

operations.




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       184.    Plaintiffs reasonably and justifiably relied on Jaber’s deposition testimony and

continued concealment of material facts in discontinuing their efforts to pursue further collection

of the Boim Judgment.

       185.    As a result of Jaber’s continued concealment and Plaintiffs’ justified reliance,

Plaintiffs were prevented from enforcing the Boim judgment while AMP continued to operate

and raise substantial funds for more than a decade. Had Plaintiffs been alerted to the concealed

material facts, they could have sought through enforcement proceedings or otherwise to recover

funds from AMP. Plaintiffs have suffered damages as a result.

       WHEREFORE Stanley Boim, individually and as administrator of the estate of David

Boim, deceased, and Joyce Boim respectfully request the Court to enter judgment in favor of

Plaintiffs and against each of the Defendants on Count IV herein as follows:

           A. Award compensatory damages caused by Jaber’s misconduct, as alleged in this

               Count, in an amount to be determined at trial;

           B. Award punitive damages; and

           C. Award Plaintiffs such other relief as the Court deems just and proper under the

               circumstances.




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                                       JURY DEMAND

      Plaintiffs demand a trial by jury on all claims and issues so triable.



Dated: December 17, 2019                     Respectfully submitted,


                                             /s/ Seth H. Corthell
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                                             Administrator of the Estate of David Boim,
                                             Deceased, and Joyce Boim


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                             CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing has been filed

electronically using the Court’s CM/ECF system and has been served to all parties via

email through CM/ECF on this 17th day of December 2019.



                                         /s/ Seth H. Corthell




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